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                                                               Brown owned D.A.B. Holding Company, the
Only the Westlaw citation is currently available.         parent of Donn Corporation (Donn) and American
                                                                                  FN1
                                                          Metal Company (AMC).         Donn and AMC oper-
            United States District Court,                 ated manufacturing facilities in Westlake, Ohio
                   N.D. Illinois,                         (Westlake). On June 25, 1980, Donn filed a notific-
                                                          ation of hazardous waste activity for its Westlake
  USG CORPORATION, a Delaware corporation;
                                                          facility with the U.S. Environmental Protection
  and USG Interiors, Inc., a Delaware corporation,
                                                          Agency (USEPA). During Brown's ownership of
                     Plaintiffs,
                                                          DAB., a portion of the waste from the manufactur-
                         v.
                                                          ing process in Westlake was stored in three surface
   Donald A. BROWN, and individual; Donald A.
                                                          impoundments and various hazardous waste con-
  Brown, as trustee of the Revocable Living Trust
                                                          tainers. In 1982 AMC decided to close the three
dated September 29, 1976; and Manufacturers Na-
                                                          surface impoundments. In order to effect closure of
tional Bank of Detroit, as trustee of the Irrevocable
                                                          the impoundments AMC was required to comply
       Trust dated July 22, 1976, Defendants.
                                                          with Ohio's environmental laws because at that time
                  No. 89 C 2874.                          the Ohio environmental agency (OEPA) was the
                                                                                                         FN2
                  Feb. 25, 1997.                          RCRA-authorized state agency for the USEPA.
                                                          AMC undertook a “clean” closure of the surface
           MEMORANDUM AND ORDER                           impoundments which required removal of all con-
MORAN, Senior District Judge.                             taminated soil.
     *1 In this diversity case plaintiffs USG Corpor-
ation and USG Interiors, Inc. (USG) seek indemni-                 FN1. Throughout this opinion, we will
fication from defendants (Brown) pursuant to a                    refer to defendants when we mean pre-
merger agreement, for costs incurred as a result of               merger AMC or Donn, or when we mean
alleged violations of environmental laws and regu-                defendants currently.
lations prior to the merger date. On October 26,
                                                                  FN2. As of July 15, 1983, the OEPA had
1992, this court granted in part and denied in part
                                                                  official “interim authorization” to oversee
USG's motion for summary judgment on the issue
                                                                  the closure of the three surface impound-
of liability under Article 4(d) of the indemnity
                                                                  ments.
agreement. USG Corp. v. Brown, 809 F.Supp. 573,
574 (N.D.Ill.1992) (USG I). Based on this order,               On November 15, 1982, AMC submitted its
USG now moves for summary judgment claiming               closure plan to the OEPA. AMC then started the
that it is entitled to recover $864,030 in damages        physical cleanup and closure process without hav-
for expenses resulting from defendants' pre-merger        ing received formal approval from the OEPA. On
noncompliances with environmental laws. In re-            September 24, 1984, the OEPA informally ap-
sponse, Brown submits a counter-motion for sum-           proved AMC's closure as a “clean” closure. The
mary judgment claiming that USG is not entitled to        OEPA suggested that AMC conduct one year of ad-
any damages pursuant to the indemnity agreement.          ditional monitoring for lead only, which was done.
For the reasons below, USG's motion is denied.            On October 30, 1984, an independent engineer per-
Brown's counter-motion is granted in part and             formed the site check and agreed that the closure
denied in part.                                           had been completed consistent with the closure
                                                          plan. However, the OPEA had still not issued form-
                  BACKGROUND
                                                          al approval because it never completed its notice




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and comment requirements. Then, in January 1986,            sessments and in June, 1987, USEPA rejected
the OPEA lost its delegated regulatory jurisdiction         AMC's closure plan for failure to comply with the
to administer the closure program. It is undisputed         stricter standards. AMC submitted a revised version
that the effect of this was that the closures were          of the plan and on September 10, 1987, the USEPA
now to be approved by USEPA.                                approved AMC's closure plan subject to completion
                                                            of risk assessments and groundwater monitoring re-
     On April 9, 1986, after the OEPA had been              quirements.
stripped of its interim status and before defendants
received formal approval for the closure from                       FN3. In our November 17, 1995 Order, we
USEPA, USG acquired Westlake in a merger with                       held that USG was not entitled to indemni-
D.A.B. and its subsidiaries. As a part of the merger,               fication for the cost of risk-assessments
the parties executed an indemnity agreement in                      undertaken pursuant to federal closure re-
which defendants agreed to indemnify USG for any                    quirements since AMC committed no pre-
loss, liability or expense resulting from any pre-                  merger noncompliances with applicable
merger noncompliance with environmental laws                        closure laws that resulted in USG's costs.
and regulations under certain conditions. Specific-                 USG Corp. v. Brown, No. 89-C-2874, at 14
ally, Article 4 of the agreement states that defend-                (N.D.Ill. Nov. 17, 1995) (USG IV). Spe-
ants                                                                cifically, we found that defendants could
                                                                    not be held liable under the indemnity
  *2 shall indemnify and hold harmless USG ...                      clause for the USEPA's post-merger tight-
  with respect to any loss, liability or expense ... in-            ening of the closure laws on March 19,
  curred in connection with: ... (d) any noncompli-                 1987. Id.
  ance prior to the Merger Date (whether noticed,
  cited or otherwise) with applicable environmental              On January 3, 1989, the USEPA issued a Com-
  laws, ordinances, and regulations....                     plaint and Compliance Order against AMC pursu-
                                                            ant to § 3008(a)(1) of the Resource Conservation
    Article 7 of the agreement, however, relieved           and Recovery Act (RCRA), 42 U.S.C. § 6928(a)(1),
Brown of liability for any obligation or claim if           alleging violations due to the surface impound-
USG did not provide written notice to defendants            ments. The administrative complaint charged AMC
by “the third anniversary of the Merger Date,”              with the following violations of the RCRA and op-
April 9, 1989.                                              erating standards promulgated thereunder:

     Subsequently, on September 30, 1986, the                 f. Failure to implement a ground water monitor-
OEPA issued a formal approval of AMC's plan to                ing program capable of determining impacts on
close the three surface impoundments but told                 the groundwater from the surface impoundments
AMC that it would have to seek USEPA approval                 as required by 40 CFR 265.90 through 265.94
for formal closure. In compliance with federal law,           and OAC 3745-65-90 through 94 (September 9,
AMC (now owned by USG) submitted its closure                  1987); and
plan to the USEPA on October 6, 1986. The federal
agency delayed review of the closure plan until               g. Failure to manage containers, as required by
more stringent regulations for and interpretations of         40 CFR 265.171, 265.171(a), and 265.174 and
contaminated soil were issued on March 19, 1987.              OAC 3745-66-71, 73(A), and 74 (May 25, 1984,
Pursuant to these new regulations AMC elected to              March 11, 1985, September 5, 1986, and May 11,
conduct a risk-based clean closure, which entailed            1987).
the performance of monitoring and risk assess-
       FN3                                                      (Pl.Ex. 2 at 7). The USEPA proposed a civil
ments.      USG incurred the costs of those risk as-




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penalty of $69,555 for the RCRA violations. On            ating standards.
February 22, 1990, the USEPA and AMC (with
USG's approval) entered into a consent order                   In its original motion for summary judgment
(Order I), under which AMC agreed to perform cer-         USG claimed that it was entitled to indemnification
tain actions to bring Westlake into compliance with       pursuant to the merger agreement for those costs
applicable hazardous waste laws, including institut-      arising from Orders I and II, since they resulted
ing a groundwater monitoring program. Specific-           from environmental law violations by Brown occur-
ally, Order I provided in relevant part as follows:       ring before the April 9, 1986 merger date. On Octo-
   E. Respondent shall implement a groundwater            ber 26, 1992, this court issued a Memorandum and
   monitoring program capable of determining the          Order in which it granted USG's motion in part and
   facility's impact on the quality of groundwater in     denied in part. USG I, 809 F.Supp. at 574. Specific-
   the uppermost aquifer. The program shall fully         ally, this court made two holdings with respect to
   comply with the requirements of OAC                    USG's Order I claims that are the subject of the cur-
   3745-65-90 through 94 (40 CFR 265.90 through           rent dispute over damages. First, we held that USG
   265.94). Respondent submitted a groundwater            was entitled to indemnification for those expenses
   monitoring program entitled “Sampling and Ana-         incurred as a result of Brown's pre-merger noncom-
   lysis Plan” to U.S. EPA and OEPA on July 10,           pliance with RCRA groundwater monitoring re-
   1989. U.S. EAP approved with one (1) condition,        quirements. Id. at 582. Second, we found that USG
   the Sampling and Analysis Plan on July 28, 1989.       was entitled to indemnification for those expenses
   Upon approval or approval with modifications by        incurred as a result of defendants' pre-merger non-
   OEPA, Respondent shall implement the above             compliance with RCRA operating standards. Id. at
   mentioned groundwater monitoring program               583. In reaching these conclusions this court found
   within thirty (30) days....                            that USG had properly notified defendants as to its
                                                          Order I claims pursuant to Article 7 of the agree-
                                                                FN4
    *3 (Pl.Ex.4 at 4.) Also as part of Order I, USG       ment.       id. at 577-78. With respect to USG's Or-
negotiated and paid a lower penalty of $45,000.           der II claims, we held that USG did not show as a
                                                          matter of law that it provided Brown with full and
     On March 13, 1990, after this lawsuit was            fair notice of pre-merger noncompliances. Id. at
filed, the USEPA issued a Consent Order requiring              FN5
                                                          579.      start
corrective action at Westlake (Order II). Order II
was issued because of information indicating re-                  FN4. Specifically, this court found that
leases of hazardous substances at Westlake. Order                 USG had sent a letter to defendants via
II required AMC to perform a RCRA facility in-                    certified mail on January 11, 1989 which
vestigation to determine the nature and extent of                 spelled out in detail what the USEPA was
any releases of hazardous wastes or constituents,                 seeking and which contained a copy of the
and a corrective measures study (CMS) to evaluate                 January 4, 1989 USEPA complaint. USG I,
alternatives for mitigating any migration or releases             809 F.Supp. at 578.
of hazardous wastes or constituents.
                                                                  FN5. In our April 22, 994 Order, we found
     After these orders were issued, USG incurred                 that it did not matter whether or not de-
substantial costs in implementing a groundwater                   fendants were “prejudiced” by the lack of
monitoring system that complied with RCRA re-                     notice, since the issue was simply whether
quirements. USG also incurred costs in cleaning up                USG notified defendants before the agreed
contaminated soil and groundwater in the drum                     upon limitation date. USG Corp. v. Brown,
storage area at Westlake and bringing the hazardous               No. 89-C-2874 (N.D.Ill. April 22, 1994)
waste containers into compliance with RCRA oper-                  (USG II). In our November 15, 1994 Or-




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        der, we again found that USG had failed as        quirements
        a matter of law to establish that it ad-               *4 Although the issue of liability was ostens-
        equately notified defendants of pre-merger        ibly decided in USG I, it is clear from the briefs in
        noncompliances with environmental law             this case that there is considerable confusion over
        which resulted in the issuance of the             our previous holdings that needs to be addressed
        USEPA's Order II. USG Corp. v. Brown,             here before the issue of damages can be resolved.
        No. 89-C-2874 (N.D.Ill. Nov. 15, 1994)            Therefore, we first address the extent of defendants'
        (USG III).                                        liability under the standard we previously articu-
                                                          lated:
     Based on our holdings in USG I, plaintiffs now
move this court for summary judgment arguing that           “[f]or defendants to be liable under Article 4(d)
it is entitled to $864,030 in indemnification costs         of the Indemnity Agreement, three elements must
for 1) the penalty paid pursuant to Order I for             be present: (1) a pre-merger noncompliance with
AMC's pre-merger noncompliances; 2) the costs in-           environmental law, (2) that this noncompliance
curred in rectifying AMC's pre-merger noncompli-            resulted [in EPA action], and (3) that USG gave
ance with the RCRA groundwater monitoring re-               defendants full and fair written notice of the non-
quirements; and 3) the costs associated with AMC's          compliance within three years of the merger date.
pre-merger noncompliances with RCRA operating               These three elements must occur simultan-
requirements. Defendants dispute this claim and             eously.”
submit a counter-motion for summary judgment, ar-
guing that USG should be denied any recovery.                 USG III, No. 89-C-2874, (N.D.Ill. Nov. 15,
                                                          1994). After clarifying liability, we then determine
                   DISCUSSION                             whether a damage award is appropriate on summary
I. Summary Judgement Standard                             judgment.
     A motion for summary judgment may be gran-
ted when there are no issues of material fact and the     A. Extent of Defendants' Liability for Noncompli-
movant is entitled to a judgment as a matter of law.      ance with Groundwater Monitoring Requirements
Fed.R.Civ.P. 56(c); Renovitch v. Kaufman, 905                  The first question presented by these motions
F.2d 1040, 1044 (7th Cir.1990). The movant must           for summary judgment is as follows: What, if any,
point to those portions of the record that demon-         expenses incurred by USG in implementing a
strate the absence of any genuine issue of material       groundwater monitoring system are attributable to
fact, Celotex Corp. v. Catrett, 477 U.S. 317, 323,        defendants' pre-merger noncompliance with RCRA
106 S.Ct. 2548, 91 L.Ed.2d 265 (1986), and all            groundwater monitoring requirements set forth at
reasonable inferences are drawn in favor of the           40 CFR §§ 265.90 et seq., (Subpart F) applicable to
non-movant, see e.g., Adickes v. S.H. Kress & Co.,        Westlake's surface impoundments? This issue has
398 U.S. 144, 157, 90 S.Ct. 1598, 26 L.Ed.2d 142          been framed by the parties as a disagreement over
(1970); Bank Leumi Le-Isreal, B.M. v. Lee, 928            the scope of this court's previous rulings.
F.2d 232, 236 (7th Cir.1991). Summary judgment
                                                               Plaintiffs cite USG I, in which we granted
should be granted when it is clear that the plaintiff
                                                          plaintiffs' motion for summary judgment as to ex-
could not carry his burden of persuasion at trial on
                                                          penses incurred as a result of defendants' pre-
one or more elements. See generally Anderson v.
                                                          merger noncompliance with RCRA groundwater
Liberty Lobby, Inc., 477 U.S. 242, 249-50, 106
                                                          monitoring requirements. 809 F.Supp. at 582.
S.Ct. 2505, 91 L.Ed.2d 202 (1986).
                                                          Based on USG I, plaintiffs argue that they are en-
II. Damages for Pre-Merger Noncompliance with             titled to over $200,000 in costs associated with im-
RCRA Subpart F Groundwater Monitoring Re-                 plementing a groundwater monitoring system, as




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well as that portion of the Order I penalty attribut-     ated in the EPA complaint leading to Order I. 809
able to monitoring violations.                            F.Supp. at 582. On this basis plaintiffs now urge
                                                          this court to find that Brown is responsible for the
     Defendants, on the other hand, point to USG          implementation of a monitoring system that should
IV, in which we held that defendants were in com-         have been implemented pre-merger, in compliance
pliance with applicable closure laws prior to the         with their independent Subpart F obligations.
merger and therefore were not liable for the costs of
risk assessments performed by USG in connection                Defendants rejoin that whatever this independ-
with the post-merger closure of surface impound-          ent obligation was, they were never properly noti-
ments. USG IV, No. 89-C-2874, at 14. We made              fied pursuant to Article 7 of the merger agreement
this finding despite the fact that OPEA had its fed-      and are therefore not liable. Specifically, they con-
erally-delegated authority to administer the RCRA         tend that they are only liable for noncompliances
revoked prior to the merger without having form-          cited in Order I since it is only for those noncompli-
ally approved AMC's closure. We also held that            ances that they were afforded proper notice. Order I
AMC was in pre-merger compliance even though              required AMC to implement a groundwater monit-
the USEPA rejected AMC's closure plan after the           oring system based on a Sampling and Analysis
merger, based on more stringent closure regulations       Plan (SAP) already developed by plaintiffs in con-
that were passed on March 19, 1987. Defendants            nection with its closure obligations. Therefore, de-
contend that once they were in compliance with the        fendants argue that they were only properly notified
OPEA's closure requirements in 1984, their ground-        of groundwater monitoring violations in connection
water monitoring obligations ceased. Defendants           with closure and since we have already held that
thus argue that they are not liable for any of USG's      they are not responsible for non-compliance with
costs of developing or implementing a groundwater         pre-merger closure laws, they are not liable for this
monitoring system pursuant to Subpart F since             category of costs.
those costs were associated with closure (for which
they were not liable under USG IV ) and caused                 This disagreement raises the following ques-
solely by a post-merger change in the applicable          tions: (1) what was the relationship between the
                     FN6                                  OPEA's closure regulations and the USEPA's Sub-
environmental laws.
                                                          part F groundwater monitoring requirments, given
        FN6. Alternatively, defendants argue that         the OPEA's status as RCRA-authorized state
        even if they are liable for some of USG's         agency for the USEPA; and (2) if defendants were
        costs associated with the groundwater             in fact under an obligation to perform groundwater
        monitoring system, there is a genuine issue       monitoring, were they properly notified of their
        of material fact with respect to the amount       pre-merger failure to comply with this obligation in
        of damages to which USG is entitled.              such a way as to give rise to liability?

    *5 However, plaintiffs argue that prior to the             First, it is necessary to determine precisely
merger AMC had a monitoring obligation pursuant           what the federal and state requirements at issue
to Subpart F that existed independent of any monit-       were at the time of the merger. Generally, the
oring requirements related to closure. Therefore,         RCRA, 42 U.S.C. §§ 6901 et seq., prohibits the
even if AMC was in pre-merger compliance with             storage, treatment and disposal of solid and hazard-
closure laws it was never in compliance with its in-      ous waste materials at both private and govern-
dependent monitoring obligations. In USG I we             mental facilities without a permit issued by EPA or
noted that AMC had failed to implement a ground-          an authorized state. 42 U.S.C. § 6925(a). Recogniz-
water monitoring program in compliance with §             ing that the EPA could not issue permits to all ap-
265.90 et seq., for a period of six years, as indic-      plicants before November 19, 1980, the RCRA's ef-




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fective date, Congress provided that a facility could      the same force and effect as action taken by the Ad-
obtain “interim status” to allow it to operate             ministrator.” § 6926(d); see also Aurora National
pending final administrative action on its permit ap-      Bank v. Tri Star Marketing, Inc., No. 96-C-4175, at
plication. 42 U.S.C. § 6925(e)(1); see also U.S. v.        3 (N.D.Ill. Jan.6, 1997). However, this is true only
Ekco Housewares, Inc., 62 F.3d 806, 809 (6th               to the extent that the state program is no less strin-
Cir.1995). It is not disputed in this case that at all     gent than the federal program, Dydio v. Hesston
relevant times Westlake was an “interim status” fa-        Corp., 887 F.Supp. 1037, 1040 (N.D.Ill.1995). Fur-
cility (Pl.Ex.2, at 4).                                    ther, a facility operating in a state which has been
                                                           delegated federal authority remains subject to the
      Having obtained interim status, Westlake was         RCRA and the USEPA is authorized to override the
required to comply with certain operating standards        state program when necessary to enforce compli-
promulgated by the USEPA pursuant to the RCRA.             ance with that statute. Waste Management of
40 C.F.R. § 265.1 et seq. These regulations define         Illinois, Inc. v. U.S. E.P.A., 714 F.Supp. 340, 341
“the acceptable management of hazardous wastes                              FN7
                                                           (N.D.Ill.1989).
during the period of interim status,” 40 C.F.R. §
265.1(a), and are applicable “until applicable part                 FN7. “For example, the Administrator may
265 closure and post-closure responsibilities are                   revoke a state-issued permit if the permit-
fulfilled ...” 40 C.F.R. § 265.1(b). At issue in this               tee fails to comply with RCRA sections
case are the groundwater monitoring requirements                    3004 and 3005, 42 U.S.C. §§ 6924-6925.
set forth in Subpart F. 40 C.F.R. S § 265.90-265.94.                See 42 U.S.C. § 6925(d) (1982). In addi-
Specifically, Subpart F provides that “the owner or                 tion, the Administrator may take enforce-
operator of a surface impoundment, landfill, or land                ment action in a state with its own hazard-
treatment facility which is used to manage hazard-                  ous waste program, as long as he informs
ous waste must implement a ground-water monitor-                    the state before taking action. Id. §
ing program capable of determining the facility's                   6928(a)(1), (2). Finally, if the Administrat-
impact on the quality of ground water in the upper-                 or determines that the state is not adminis-
most aquifer underlying the facility....” 40 C.F.R. §               tering its program in accordance with the
265.90(a). Therefore, pursuant to federal regula-                   RCRA, he shall notify the state; if appro-
tions AMC was under an obligation to conduct                        priate action is not taken, the Administrat-
groundwater monitoring until its closure responsib-                 or is required to withdraw authorization
ilities were fulfilled. 40 C.F.R. § 265.1(b).                       from the state program.” Waste Manage-
                                                                    ment of Illinois, Inc., 714 F.Supp. at 341.
     *6 However, during the pre-merger period
AMC was operating under a regulatory regime ad-                 It is not disputed that until three months prior
ministered by the OPEA, acting pursuant to feder-          to the merger OPEA had official interim status to
ally-delegated authority. The RCRA allows states           carry out its own state hazardous waste program in
to administer and enforce their own hazardous              lieu of the federal program. The Ohio regulations
waste programs. 42 U.S.C. § 6926. Under the ori-           substantially conformed to the federal regulations,
                                                                                                  FN8
ginal version of the RCRA a state like Ohio could          as required by RCRA § 6926(c)(1).          Under the
obtain interim authorization to carry out its own          OPEA administrative regulations in effect at that
hazardous waste program. 42 U.S.C. § 6926(c)(1).           time an owner or operator of a surface impound-
Such an interim state program operated “in lieu of”        ment was required to “implement a ground water
the federal program for a period ending no later           monitoring program capable of determining the fa-
than January 31, 1986. Id. Once a state program is         cility's impact on the quality of groundwater in the
authorized, any action taken by the state “shall have      uppermost acquifer underlying the facility....” Ohio




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Admin. Code § 3745-65-90(A). This obligation ap-            federal law, and since we have already held that
plied “during the active life of the facility....” Ohio     AMC acted in compliance with the state's surrogate
Admin. Code § 3745-65-90(B). A facility could               scheme, we find here that as of September 24,
cease to be active by complying with the applicable         1984, AMC was no longer obligated to maintain a
                                                                                FN10
closure requirements. Ohio Admin. Code §§                   monitoring system.          Thus, we find that AMC
3745-56-01-3745-56-09. We have already held in              was out of compliance with applicable groundwater
USG IV that defendants were in compliance with              monitoring laws from the period beginning on
these requirements prior to the merger. Therefore,          November 19, 1981, and ending with the date of
the Ohio regulatory scheme, like the federal                OPEA's informal approval of AMC's closure plan,
scheme, required AMC to maintain a groundwater              on September, 24, 1984. The first prong of the liab-
                                                  FN9
monitoring system up until the date of closure.             ility test-noncompliance with applicable environ-
                                                            mental law-is thus satisfied.
         FN8. Defendants have previously asserted
         that Ohio's regulations were equivalent to                  FN10. Nothing we said in USG I is to the
         the federal scheme. USG IV, at 3.                           contrary. Although there we found that
                                                                     AMC was out of compliance with monitor-
         FN9. AMC was not required to continue                       ing regulations for six pre-merger years,
         monitoring after completing its clean clos-                 we later clarified that this “only means that
         ure. The state code provided that a                         U.S. EPA found [defendants] out of com-
         “groundwater monitoring program shall be                    pliance in 1987 according to the 1987 laws
         carried out during the active life of the fa-               and regulations.” USG IV, at 11. Therefore,
         cility, and for disposal facilities, during the             after the 1984 closure and before the mer-
         post-closure care period as well.” Ohio                     ger, AMC was not out of compliance with
         Admin. Code § 3745-65-90(B). However                        applicable environmental laws.
         AMC was not a disposal facility within the
         meaning of the statute since it planned to              *7 The second prong of the liability test is also
         remove the sludge stored in the surface im-        satisfied since it is not disputed that AMC's non-
         poundments. See Ohio Admin. Code.                  compliances resulted in the USEPA issuing Order I,
         3745-50-10(A)(25); P1.Ex.5A at 3. There-           which assessed a civil penalty and mandated the
         fore, its groundwater monitoring require-          implementation of a groundwater monitoring sys-
         ments ended when its closure plan was ap-          tem (Pl.Ex.4, at 3).
         proved. 40 C.F.R. § 265.1(b).
                                                                 Having determined that Westlake was in viola-
     The only liability issue left to be resolved is the    tion of Ohio's groundwater monitoring require-
precise time frame for which AMC was in violation           ments prior to the merger and that this violation
of monitoring laws. Facilities such as Westlake             resulted in USEPA action, we now turn to whether
were required to comply with groundwater monitor-           defendants were properly notified of this noncom-
ing requirements by November 19, 1981, under the            pliance pursuant to Article 7. Defendants argue that
state regulations. Ohio Admin. Code §                       since they are only responsible for noncompliances
3745-65-90(A). Defendants have offered no evid-             cited in Order I, they are liable for groundwater
ence that they were ever in compliance with these           monitoring costs only to the extent described in Or-
regulations. On September 24, 1984, the OPEA in-            der I. In Order I, the USEPA directed USG to im-
formally approved AMC's clean closure and told              plement the groundwater monitoring program en-
AMC that it could backfill the surface impound-             titled “Sampling and Analysis Plan,” which was
ments. Since Ohio at that time was endowed with             submitted by USG and approved by USEPA on July
interim authority to enforce its scheme in lieu of          28, 1989. Defendants contend that the SAP was




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conducted as a condition of complying with                 defendants on notice of plaintiffs' claim that AMC
USEPA clean closure requirements (Pl.Ex.5B at 1).          had committed pre-merger violations of its ground-
Therefore, to the extent that Order I only discusses       water monitoring obligations.
closure-related monitoring requirements, defend-
ants now claim that they were never properly noti-              *8 Since defendants were out of compliance
fied about the pre-merger nonclosure-related monit-        with its pre-merger monitoring obligations under
oring obligations and therefore cannot be held li-         both federal and state law, and since defendants
able under Article 7 of the indemnity agreement.           were properly notified of plaintiffs' claims based on
                                                           these noncompliances, we find that defendants are
     In response, plaintiffs claim that they conduc-       liable under the indemnity agreement for costs in-
ted the SAP pursuant to Subpart F requirements ap-         curred by plaintiffs in connection with remedying
plicable to all facilities, regardless of their closure    the violations which occurred during the time peri-
                                                                               FN11
status. 40 C.F.R. § 265.92. Therefore, they argue,         od indicated above.
the Order I notification of noncompliance related
generally to any monitoring violations and not                     FN11. Our opinion in USG IV is not to the
simply those specifically connected to closure.                    contrary. There we found that defendants
                                                                   were in compliance with applicable closure
     Our decision in USG I dictates that we find de-               laws at the time of the merger and there-
fendants were adequately notified of AMC's pre-                    fore USG was not entitled to recover costs
merger groundwater violations. In USG I we held                    associated with closure. That finding,
that defendants were properly notified of indemni-                 however, does not lead to the defendants,
fication claims for expenses relating to Order I. We               conclusion that they are therefore not li-
explicitly found that a letter sent from USG to de-                able for groundwater monitoring expenses.
fendants on January 11, 1989, which contained a                    This is because, as we have already noted,
copy of the EPA complaint, adequately informed                     AMC was under an obligation explicitly
defendants of the claims against them. Id. at                      provided for in the OPEA regulations to
577-78. It was the letter and EPA complaint, not                   implement a groundwater monitoring sys-
Order I, which formed the basis for proper notifica-               tem and to maintain that system prior to
tion under Article 7. In the EPA complaint, the                    closure. Since they were properly notified
USEPA specifically found that AMC had failed “to                   of these pre-merger violations in the EPA
implement a groundwater monitoring program cap-                    Complaint, defendants cannot now try to
able of determining impacts on the groundwater                     avoid damages by arguing that USG IV re-
from the surface impoundments as required by 40                    lieved them of liability for closure costs
CFR 265.90 through 265.94 and OAC 3745-65-90                       and then trying to cast its groundwater
through 94 (September 9, 1987) ...” (Pl.Ex.2, at 7).               monitoring obligations as inextricably con-
Although it is true that Order I directed AMC to                   nected to closure, when in fact they were
remedy the monitoring deficiencies by implement-                   not.
ing the SAP already developed in compliance with
the USEPA's closure requirements, the EPA com-             B. Order I Penalty
plaint was broad enough to adequately notify de-                Defendants' groundwater monitoring violation
fendants of any pre-merger groundwater monitoring          constituted the largest portion of the civil penalty
violations which were not related to closure. The          assessed in Order I. In the EPA complaint, which
EPA complaint did not make any distinction                 formed the basis for the Order, the USEPA found
between closure- and non-closure-related monitor-          that violations of Subpart F warranted a civil pen-
ing. The language of the EPA complaint clearly put         alty of $44,218 out of the total penalty assessed at
                                                           $69,655, which is 63%. Although the period in




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question covers approximately six years between            an issue of fact that we cannot resolve on this mo-
July 1982 and September 1987, the only date cited          tion for summary judgment. Plaintiffs' motion on
in the EPA complaint is September 9, 1987, which           this issue is denied.
was after the merger date. Plaintiffs argue that they
are entitled to the full penalty cost. While they ad-      C. Expenses Associated with Development of
mit that some post-merger violations may have oc-          Groundwater Monitoring System
curred between the merger date and September                    Plaintiffs contend that AMC's failure to imple-
1987, they argue that the portion of the penalty as-       ment and maintain a groundwater monitoring sys-
sociated with those costs was more than com-               tem in compliance with federal and state law cost
pensated for by the reduction in the penalty they          them $221,120, which they are now entitled to as
                              FN12                         damages. Specifically, they argue that as a result of
negotiated with the USEPA.          Defendants argue
that they are only liable for that portion of the pen-     pre-merger noncompliances they were forced to
alty corresponding to violations from the initial in-      hire AGI Technologies (AGI) to conduct hydrogeo-
spection date in 1982 to closure in 1984, since after      logical studies, develop a sampling and analysis
that period the EPA found no violations of Subpart         plan (SAP), and implement a groundwater monitor-
   FN13                                                    ing program in accordance with Subpart F. They
F.
                                                           claim to be entitled to the full costs of developing
         FN12. Plaintiffs successfully negotiated a        this system since we have already found defendants
         reduction of the civil penalty to $45,000 in      liable for the pre-merger violations.
         Order I.
                                                                In response, defendants argue that a finding of
         FN13. Defendants assert that they since           liability does not lead to the conclusion that
         they were liable only from July 1982 to           plaintiffs are entitled to the full damages they are
         October 1984 and plaintiffs were liable           seeking. First, they contend that in computing the
         from March 1987 to September 1987, de-            costs associated with 42 U.S.C. § 265 Subpart F
         fendants should only be assessed 80% of           monitoring, the plaintiffs have erroneously included
         the penalty. They further contend that this       unrelated costs. For example, defendants claim that
         amount should be reduced by 65% to cor-           in estimating Subpart F costs plaintiffs included
         respond with the reduction negotiated by          closure costs as well as expenses associated with its
         plaintiffs. Using this approach, they con-        hazardous waste monitoring requirements under 42
         clude that the total portion of the penalty       U.S.C. § 26,4 Subpart F. Plaintiffs do not persuas-
         allocable to Brown is no more than                ively respond to this assertion, arguing only that
         $28,528. (Def. Counter-Mot. at 15).               any § 264 monitoring it did was at the insistence of
                                                           the USEPA. While this may be true, it does not fol-
     This issue of apportionment must ultimately be        low that defendants are responsible for defraying
determined on the basis of a factual record more           costs not associated with groundwater monitoring
fully developed than we have before us now. For            requirements, even if imposed by the USEPA.
instance, we would need to know what portion of            Therefore, to the extent that plaintiffs' calculation
the final penalty was attributable to noncompliance        of damages associated with monitoring did include
with groundwater monitoring requirements and we            extraneous expenses, the award plaintiffs seek
would need more information to determine the ap-           should be reduced accordingly. Second, defendants
propriate weight to be accorded AMC's pre- and             argue that plaintiffs were obligated to conduct their
post-merger violations. Therefore, although we             own Subpart F monitoring after the merger until the
hold that plaintiffs are entitled to indemnification of    surface impoundments were certified by the
a portion of the $45,000 civil penalty, we find that       USEPA as clean-closed and therefore it is unfair to
the extent of the penalty allocable to defendants is




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shift the full costs to defendants. They correctly         the drum storage area of the Westlake facility. Ac-
point out that plaintiffs were required as a condition     cording to plaintiffs this clean-up was undertaken
of closure under the post-merger USEPA standards           in response to AMC's pre-merger violations of the
to conduct groundwater monitoring (Def.Ex.9). We           federal and state regulations governing the use and
therefore find that to the extent that USG would           management of hazardous waste containers. 40
have incurred monitoring costs irrespective of de-         C.F.R. 265.171 et seq.; Ohio Admin. Code
fendants' pre-merger violations, the damage award          3745-66-71 et seq.
                                      FN14
also should be reduced accordingly.
                                                                USG argues that it has incurred approximately
         FN14. Defendants' expert, Mr. Hespen, has         $596,910 in remediating contaminated soil and
         calculated that the total costs of Subpart F      groundwater in the drum storage area as a result of
         monitoring that USG might have avoided            AMC's pre-merger noncompliances (cited by
         after the merger if AMC had conducted             OPEA) with the operating standards applicable to
         pre-merger monitoring activities is only          the hazardous waste containers stored in the drum
         $73,173. While we do not necessarily ac-          storage area. Defendants respond that they cannot
         cept this figure, it demonstrates that there      be held liable for these costs since none of the ele-
         is a genuine issue of material fact relating      ments of the three-part liability test has been satis-
         to the calculation of damages.                    fied. Specifically, they contend that (1) there was
                                                           never a noncompliance with pre-merger environ-
     *9 However, we are not prepared at this stage         mental laws that required the clean-up of the drum
to precisely allocate the amount of monetary dam-          storage area; (2) USG never gave defendants proper
ages related to the development and implementation         and timely notice of this claim; and (3) Order I nev-
of USG's groundwater monitoring program. We                er contemplated the costly clean-up of the paint
think the precise allocation of costs between 264          storage area that USG undertook since it merely re-
and 265, and the amount plaintiffs would have in-          corded citations of minor waste-handling infrac-
curred irrespective of defendants' pre-merger viola-       tions and imposed a civil penalty. We will evaluate
tions, are factual issues that cannot be resolved on       each of these arguments in turn.
summary judgment. Therefore, plaintiffs' motion
for summary judgment is denied.                                 First, we reject defendants' argument that AMC
                                                           was in compliance with applicable environmental
II. Damages for Pre-Merger Noncompliances with             law since we have already held in USG I that de-
RCRC Operating Standards                                   fendants committed pre-merger violations of RCRA
                                                           operating standards. The EPA complaint resulting
A. Extent of Defendants' Liability for Noncompli-
                                                           in Order I indicates that AMC was cited for their
ance with RCRA Operating Standards
                                                           failure to properly manage its hazardous waste con-
     The second question presented by these sum-           tainers on two dates prior to the merger (Pl.Ex.2, at
mary judgment motions is what if any expenses              Attach. 1). The fact that AMC was never explicitly
USG is entitled to as a result of defendants pre-          cited for soil contamination is not relevant to the is-
merger violation of RCRA operating standards. In           sue of whether defendants were in pre-merger com-
USG I we granted “summary judgment as to those             pliance with applicable environmental law.
expenses incurred as a result of defendants' pre-
                                                               Second, plaintiffs assert that the EPA com-
merger noncompliance with operating standards”
                                                           plaint and Order I adequately notified defendants of
set forth at 40 C.F.R. Subparts 262 and 265. 809
                                                           the drum storage clean-up costs they are now seek-
F.Supp. at 583. The costs at issue relate to USG's
                                                           ing. We agree. In USG I we made it clear that
clean-up of contaminated soil and groundwater in
                                                           plaintiffs could recover all costs associated with




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pre-merger violations cited in the EPA complaint                   FN17. Defendants argue that in USG I we
              FN15
and Order I.        In Order I the USEPA stated that               held that plaintiffs are entitled to recover
USG was required to “achieve and maintain com-                     only for those categories of costs which
pliance with the standards applicable to generators                resulted in “the specific infractions identi-
of hazardous waste ...” (Pl.Ex.4, at 3). Order I was               fied in the administrative complaint which
based on violations cited in the preceding EPA                     gave rise to Order I” (Def.Reply at 2).
complaint, which indicated, among other things,                    Therefore, they assert that since the
that AMC's failure to properly manage its hazard-                  USEPA and the OEPA never cited AMC
ous waste containers constituted a violation of sev-               for contaminating the soil, only for main-
                                    FN16
eral state and federal regulations.      We find that              taining leaky storage units, plaintiffs can-
this citation adequately notified defendants of                    not recover the cleanup costs. Specifically,
plaintiffs' claim for clean-up costs. Although Order               they contend that the only documented ref-
I did not explicitly cite AMC for soil contamination               erence to spillage in the drum storage area
and order a clean-up, its finding of container viola-              occurred in the March 29, 1985 inspection
tions should have adequately alerted defendants of                 report of the OPEA (Pl.Ex.7, at 3). This vi-
the potential for hazardous waste leakages from the                olation was explicitly omitted from the
faulty containers which would require remediation.                 EPA complaint that provided the basis for
FN17
                                                                   Order I. Defendants contend that this omis-
                                                                   sion shows that the spillage was cleaned up
        FN15. There we stated as follows:                          before Order I. On this basis defendants ar-
                                                                   gue that they were never adequately noti-
           [T]here is the problem that some of the
                                                                   fied of its liability for cleanup costs associ-
           dates given as dates of violation are pre-
                                                                   ated with soil contamination. We find this
           merger and some are post-merger. USG
                                                                   reading of USG I too narrow. Where the
           seems not to address the problem, just
                                                                   defendants' pre-merger failure to properly
           claiming that all costs associated with
                                                                   store waste resulted in leakages that con-
           Order I are recoverable. This may ulti-
                                                                   taminated the soil and necessitated remov-
           mately prove to be the case, but on this
                                                                   al, we think liability is established irre-
           motion, and without much development
                                                                   spective of whether soil contamination was
           from USG, we cannot say as a matter of
                                                                   specifically cited in Order I.
           law that all of the penalties assessed in
           Order I for noncompliance with operat-              *10 Finally, defendants argue that there is no
           ing standards are due to pre-merger non-       connection between AMC's pre-merger violations
           compliance.                                    and the costly clean-up that USG undertook pur-
                                                          portedly in response to Order I. Specifically, they
           809 F.Supp. at 583.
                                                          contend that they should not be held liable for over
        FN16. In the USEPA's Penalty Summary it           $500,000 in clean-up costs since Order I simply as-
        noted violations of 40 C.F.R §§ 265.171,          sessed a small penalty for minor container-handling
        265.173(a), and 265.174, as well as Ohio          violations, some of which occurred after the mer-
        Admin.       Code     §§      3745-66-71,         ger. Plaintiffs argue that it is irrelevant whether Or-
        3745-66-73(A), and 3745-66-74. The dates          der I explicitly required the clean-up costs at issue
        cited were May 25, 1984, March 11, 1985,          since the indemnity agreement clearly states that
        September 5, 1986, and May 11, 1987. The          AMC must pay USG for all costs “incurred in con-
        penalty suggested was $5,000. (Pl.Ex.2).          nection with any noncompliance prior to the Merger
                                                          Date (whether noticed, cited or otherwise )




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(emphasis added).” Based on this language,                “matter of law and there is no issue of fact to be de-
plaintiffs assert that its drum storage remediation       termined.” Nationwide Mutual Fire Ins. Co. v. Gu-
costs are clearly connected with AMC's pre-merger         man Bros. Farm, 73 Ohio St.3d 107, 652 N.E.2d
noncompliances, of which defendants had adequate          684, 686 (Ohio 1995) (quoting Inland Refuse
        FN18
notice.                                                   Transfer Co. v. Browning-Ferris Industries of Ohio,
                                                          Inc., 15 Ohio St.3d 321, 474 N.E.2d 271, 272 (Ohio
        FN18. Specifically, plaintiffs assert that        1984).) However, contracts which are ambiguous or
        defendants were notified of AMC's viola-          subject to various meanings are normally questions
        tions by a letter from the OPEA dated             of fact for the jury. Clarke v. Hartley, 7 Ohio
        March 29, 1985 (Pl.Ex.6), and from a              App.3d     147,    454     N.E.2d     1322,      1326
        memorandum submitted to AMC in Octo-              (Ohio.Ct.App.1982). The test for determining
        ber 1985 by its own consultant, Lion Tech-        whether language used in a contract is ambiguous is
        nology (Pl.Ex.8).                                 whether that language is reasonably susceptible of
                                                          more than one interpretation. Santana, 632 N.E.2d
    Defendants, in response, argue that under the
                                                          at 1311.
contract a loss can be “connected with” a noncom-
pliance only if USG is required by law to pay a                    FN19. It is well settled that a federal court
penalty or provide a remedy for noncompliance.                     sitting in diversity should apply the choice-
They state that the contractual language merely                    of-law rules of the state in which it sits.
provides that a pre-merger noncompliance did not                   Klaxon Co. v. Stentor Electric Manufactur-
have to be identified by governmental regulators                   ing Co., 313 U.S. 487, 61 S.Ct. 1020, 85
before the merger for liability to attach after the                L.Ed. 1477 (1941) Therefore, we must ap-
merger.                                                            ply Illinois conflicts rules in determining
                                                                   which state's substantive law should apply
     This is a question of contract interpretation,
                                               FN19                in this case. Illinois courts rely on the prin-
which in this case is governed by Ohio law.
                                                                   ciples enunciated in the Restatement
Under Ohio law it is well established that if a term
                                                                   (Second) of Conflict of Laws in resolving
is clear and unambiguous a “court cannot in effect
                                                                   conflict-of-law questions. In re Marriage
create a new contract by finding an intent not ex-
                                                                   of Adams, 133 Ill.2d 437, 141 Ill.Dec. 448,
pressed in the clear language employed by the
                                                                   551 N.E.2d 635 (Ill.App.Ct..1990); Inter-
parties.” Alexander v. Buckeye Pipe Line Co., 53
                                                                   national Surplus Lines Insurance Co. v. Pi-
Ohio St.2d 241, 374 N.E.2d 146, 149 (Ohio 1978).
                                                                   oneer Life Insurance Co., 209 Ill.App.3d
The “rules of contract construction require that
                                                                   144, 154 Ill.Dec. 9, 568 N.E.2d 9
common words appearing in a written instrument
                                                                   (Ill.App.Ct.1990), appeal denied, 141
are to be given their plain and ordinary meaning un-
                                                                   Ill.2d 542, 162 Ill.Dec. 490, 580 N.E.2d
less manifest absurdity results or unless some other
                                                                   116 (Ill.1991). The “Illinois law of con-
meaning is clearly intended from the face or overall
                                                                   flicts requires the application of the law of
contents of the instrument.” Fireman's Fund Ins.
                                                                   the situs of the land in determining the
Co. v. Mitchell-Peterson, Inc., 63 Ohio App.3d 319,
                                                                   validity, construction, force and effect of
578 N.E.2d 851, 855 (Ohio.Ct.App.1989). In the
                                                                   an instrument affecting real estate ...” Mat-
absence of ambiguity, therefore, the terms of a con-
                                                                   ter of Morris, 30 F.3d 1578, 1582 (7th
tract must simply be applied without engaging in
                                                                   Cir.1994).
construction. Santana v. Auto Owners Ins. Co., 91
Ohio App.3d 490, 632 N.E.2d 1308, 1311                         *11 Based on the authority submitted by the
(Ohio.Ct.App.1993). Generally, the interpretation         parties we find that the “in connection with” lan-
of a contract term which is clear on its face is a




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guage of Article 4 is not ambiguous and therefore          liability to attach a plaintiff must at the very least
we here articulate its clear meaning as a matter of        show some connection between the defendants, the
law. The indemnification clause in question must           hazardous waste release in question, and the clean-
                                                                              FN20
be read in light of the background environmental           up costs incurred.
laws. Specifically, under the Comprehensive Envir-
onmental Response, Compensation, and Liability                      FN20. For instance, it would seem that
Act (CERCLA), 42 U.S.C. § 9601 et seq., a private                   even under CERCLA's strict liability re-
plaintiff can seek contribution for clean-up costs                  gime, a plaintiff who was unambiguously
from “any other person who is liable or potentially                 responsible for a hazardous waste release
liable.” 42 U.S.C. § 9613(f)(1). A person seeking to                would be hard pressed to impute liability
establish the liability of another must demonstrate                 to a prior owner who had absolutely no
that:                                                               connection with the incident in question.

  (1) the site in question is a “facility” as defined           As the Seventh Circuit has established, indem-
  by CERCLA;                                               nification agreements made “under the shadow of
                                                           potential CERCLA liability” are assumed to create
  (2) the Defendant is a “responsible person” for          indemnitor liability “for the full range of CERCLA
  the spill as defined by CERCLA;                          liability.” Taracorp, Inc. v. NL Industries, Inc., 73
                                                           F.3d 738 (7th Cir.1996) (construing Illinois law).
  (3) there was a release of hazardous substances;         Given the broad potential CERCLA liability in this
  and                                                      case, we must read the indemnification provision
                                                           expansively. Therefore, we find that Article 4
  (4) such a release caused the Plaintiff to incur re-
                                                           clearly contemplates indemnification for the type of
  sponse costs.
                                                           clean-up costs plaintiff is seeking here, provided
     Premium Plastics v. LaSalle National Bank,            that plaintiff can show the costs at issue were gen-
904 F.Supp. 809, 812 (N.D.Ill.1995); 42 U.S.C. §           erally connected with AMC's pre-merger violations
9607(a). Although the Seventh Circuit has not              of the hazardous waste container regulations, 40
definitively decided the issue, many courts have           C.F.R. 265.171 et seq.; Ohio Admin. Code
held that a plaintiff need not prove a causal connec-      3745-66-71 et seq.
tion between the defendant's waste and the
                                                                We thus have to determine whether there was a
plaintiff's response costs since CERCLA imposes a
                                                           connection between AMC's pre-merger violations,
strict liability scheme, see United States v. Alcan
                                                           the release of solvents into the ground in the drum
Aluminum Corp., 964 F.2d 252, 264-66 (3rd
                                                           storage area, and the clean-up costs at issue. De-
Cir.1992); Dedham Water Co. v. Cumberland
                                                           fendants claim that the clean-up activity in question
Farms Dairy, Inc., 889 F.2d 1146, 1152-54 (1st
                                                           was not related to the pre-merger hazardous waste
Cir.1989); United States v. Monsanto, 858 F.2d
                                                           container violations cited in Order I. Specifically,
160, 168-71 (4th Cir.1988), cert. denied, 490 U.S.
                                                           defendants argue that the location of the containers
1106, 109 S.Ct. 3156, 104 L.Ed.2d 1019 (1989);
                                                           cited for violations in the EPA complaint is
State of New York v. Shore Realty Corp., 759 F.2d
                                                           nowhere near the location of the 1994 clean-up.
1032, 1042-47 (2nd Cir.1985); Premium Plastics,
                                                           Our reading of the EPA complaint and the remedial
904 F.Supp. at 814; but see Farmland Indus. v.
                                                           action plan developed by AGI for cleaning up the
Morrison-Quirk Grain Corp., 987 F.2d 1335, 1339
                                                           spillage area (Def.Exh. 6), leads us to conclude that
(8th Cir.1993). However, this is an area of some
                                                           the location of the containers cited for pre-merger
contention that we do not need to resolve here. It
                                                           violations is ambiguous. There is simply no clear
suffices for our purposes to note that for CERCLA
                                                           reference made to the location of the cited hazard-




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ous waste containers in the EPA complaint. While           after the observation of oil-stained vegetation. They
the area of clean-up is well defined (Def.Ex.6, at         further contend that the clean-up focused on a large
Fig. 2), neither side has definitely demonstrated          area of solvent-based contamination that was much
that the waste containers referenced in the EPA            broader than the well-defined areas associated with
complaint were located either clearly inside or out-       oil-stained soils. However, Appendix D of the soil
                           FN21
side the clean-up area.            While defendants        removal report prepared by AGI for plaintiffs
would be liable for clean-up costs associated with         clearly indicates that remediation of oil-stained soil
spillage in the area referred to in the EPA com-           was at least a component of the overall clean-up ef-
plaint, they are clearly not liable for clean-up costs     fort (Def.Ex.6). Under the contract plaintiffs cannot
in other areas. The location of the faulty hazardous       recover for an oil spill that has no relation to de-
waste containers is thus an issue of fact that we          fendants' pre-merger operating standards violations.
cannot resolve on summary judgment.                        Plaintiffs have not adequately rebutted defendants'
                                                           contention that there were at least some oil-related
         FN21. Defendants argue that the location          clean-up costs that would not be recoverable by
         of the alleged container violations was in        plaintiffs. Therefore, we find that there is a genuine
         an area known as “S-2” (Pl.Exh. 8, Fig.1),        issue of material fact as to whether the clean-up
         which is east and south of the clean-up           costs USG is now claiming were in fact incurred in
         area. In making this claim, defendants            connection with the removal of soil contaminated
         seem to misconstrue one of plaintiffs' no-        by solvents which resulted from AMC's pre-merger
         tice arguments. Plaintiff claimed that de-        storage violations. To the extent that the soil and
         fendants had been notified of the spillage        water contamination was caused by AMC's failure
         by their own internal auditor, Lion Tech-         to properly maintain its hazardous waste containers
         nology, Inc., which compiled a pre-merger         prior to the merger, defendants are liable for the
         report that indicated contamination in the        clean-up costs. However, since there are issues of
         S-2 area. (Pl. Exh. 9, at 21). Defendant as-      fact with respect to the location of the hazardous
         serts that by making this argument,               waste containers and the fraction of the clean-up
         plaintiffs have admitted that area S-2 was        costs allocable to solvent remediation, we must
         where the container violations occurred.          deny plaintiffs' motion for summary judgment on
         We think defendants misread plaintiffs'           this point.
         brief. Plaintiffs were simply stating that
         defendants knew about spillages prior to          B. Order I Penalty
         the merger and thus were properly notified.            As we indicated in USG I, plaintiffs have
         They were not, as defendants argue, con-          offered no evidence disaggregating the pre- and
         ceding that the relevant waste containers         post-merger operating standard violations that
         were located in area S-2. As a result, we         would allow us to conduct an accurate accounting
         find that the location of the faulty waste        of the damages to which they are entitled. There-
         containers cited in the EPA Complaint is          fore, insofar as there is a factual dispute about the
         an undetermined issue of fact.                    proper allocation of the penalty with respect to op-
                                                           erating standard violations, plaintiffs' motion for
     *12 Further, defendants state that it was the         summary judgment is denied.
1993 discovery of a serious oil spill near the paint
storage area that precipitated the clean-up                C. Costs Associated with Remediation of Drum
(Def.Ex.6, at 1). Plaintiffs respond that the clean-up     Storage Area
activity was directed to the remediation of soils               As discussed above, plaintiffs are only entitled
contaminated with solvents which were discovered           to recover clean-up costs connected to AMC's pre-




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                                                                        FN22
merger violations of the hazardous waste container-        440 (1995).        As a result, we grant defendants'
handling regulations cited in the EPA complaint            counter-motion for summary judgment to the extent
resulting in Order I (Pl.Ex.2, Attach.1). Since            that it claimed the $100,000 credit provided for in
plaintiffs have failed to offer any evidence that          Article 8 should apply to reduce the damages award
would allow us to make this calculation at this            here. However, because we have not determined the
point, we find that a genuine issue of material fact       exact amount of defendants' liability for damages
exists and therefore deny plaintiffs' motion for sum-      under the indemnity agreement, we cannot say as a
mary judgment with respect to this issue.                  matter of law that the $100,000 credit fully offsets
                                                           any damages owed by defendants.
III. The Applicability of the $100,000 Credit
     Under Article 8 of the indemnity agreement                    FN22. The settlement agreement states as
Brown is entitled to a “$100,000 limitation” on li-                follows:
ability determined under Article 4(d) (Pl.Ex.12, at
6). Both sides agree that this limitation establishes a               This Settlement Agreement, and the Ex-
$100,000 credit for costs within the indemnification                  hibits hereto, constitute the entire agree-
provisions at issue in this case. However, they dis-                  ment among the parties hereto with re-
agree over whether this credit has already been                       spect to the subject matter hereof, and
used up in the course of this case. Specifically, de-                 there are no understandings or agree-
fendants contend that none of this credit has yet                     ments, oral or written, among the parties
been used and therefore it should apply to this case                  with respect thereto which are not set
as a matter of law. Plaintiffs respond that defend-                   forth herein.
ants have exhausted the credit in reaching a 1989
                                                                      (Settlement Agreement, at 3).
settlement agreement that satisfied all claims relat-
ing to Articles 4(d) and (e) of the indemnity agree-                         CONCLUSION
ment, except those relating to the on-site waste dis-          For the foregoing reasons, plaintiffs' motion for
posal operations at Westlake (McElroy Aff. at 1).          summary judgment is denied and defendants' mo-
                                                           tions for summary judgment is granted in part and
     *13 Plaintiffs' argument is based on the affi-
                                                           denied in part.
davit of Christopher McElroy who was senior cor-
porate counsel for USG and represented USG in the          N.D.Ill.,1997.
settlement negotiations. Plaintiffs offer no other         USG Corp. v. Brown
evidence of its credit exhaustion claim and the set-       Not Reported in F.Supp., 1997 WL 89229 (N.D.Ill.)
tlement agreement does not make any reference to
the use of the $100,000 credit. Defendants argue           END OF DOCUMENT
that McElroy's affidavit should be struck as inad-
missible under Fed.R.Civ.P. 56(e) and as contrary
to the explicit terms of the agreement. Although we
do not think that McElroy's statement that the credit
was previously exhausted is inadmissible under
Fed.R.Civ.P. 56(e), we do think that it constitutes
parol evidence contrary to the clear and unambigu-
ous terms of the integrated settlement agreement
and thus will not be admitted for the purposes of
varying the terms of the agreement. See Ed Shory &
Sons, Inc. v. Society Natl. Bank, 75 Ohio St. 433,




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                                                          [1] Environmental Law 149E           282

           United States District Court,                  149E Environmental Law
                   N.D. Texas,                                149EVI Air Pollution
              Fort Worth Division.                               149Ek275 Particular Pollutants
                                                                         149Ek282 k. Volatile Organic Com-
        UNITED STATES of America                          pounds. Most Cited Cases
                  v.                                            (Formerly 199k25.6(5.1), 199k25.6(5) Health
    GENERAL DYNAMICS CORPORATION.                         and Environment)
                                                               Texas Air Control Board's interpretation of
           Civ. A. No. CA4-87-312-A.
                                                          Texas State Implementation Plan (SIP), as con-
                   Jan. 2, 1991.
                                                          tained in Board's order, was not consistent with
         Supplemental Order Jan. 9, 1991.
                                                          Clean Air Act, where order would have encour-
     United States sued for permanent injunctive re-      aged, rather than discouraged, uncontrolled use of
lief and civil penalties based on aircraft manufac-       volatile organic compound-emitting solvents
turer's alleged violations of Texas State Implement-      (VOCs) by allowing plant-wide averaging of VOC
ation Plan (SIP) promulgated pursuant to Clean Air        emissions and including solvent washings in calcu-
Act. Both parties moved for summary judgment.             lating VOC's emitted per gallon of surface coating
The District Court, McBryde, J., held that: (1)           used. Clean Air Act, §§ 101-403, as amended, 42
Texas Air Control Board's interpretation of Texas         U.S.C.A. §§ 7401-7642.
SIP, as contained in court order, was inconsistent
                                                          [2] Environmental Law 149E           258
with Clean Air Act inasmuch as order would en-
courage, rather than discourage, uncontrolled use of      149E Environmental Law
volatile organic compound (VOC)-emitting                      149EVI Air Pollution
solvents; (2) interpretation of SIP to allow plant-               149Ek257 Implementation of Federal Stand-
wide averaging of VOC emissions contradicted spe-         ards
cific language of SIP which required each distinct                      149Ek258 k. In General. Most Cited
surface coating operation to comply with VOC              Cases
emission limits; (3) chemical milling maskant oper-           (Formerly 199k25.6(4) Health and Environment)
ation was surface coating process governed by rule             Federal agency should defer to state's interpret-
requiring calculation of pounds of VOC emissions          ation of terms of its air pollution control plan when
per gallon of coating applied; and (4) genuine is-        such interpretation is consistent with Clean Air Act.
sues of material fact existed as to whether manufac-      Clean Air Act, §§ 101-403, as amended, 42
turer declined opportunity to install VOC emission        U.S.C.A. §§ 7401-7642.
control equipment at facility when offered by
United States Air Force precluding summary judg-          [3] Environmental Law 149E           282
ment in favor of manufacturer on its indemnifica-
tion counterclaim.                                        149E Environmental Law
                                                             149EVI Air Pollution
    United States' motions for summary judgment                 149Ek275 Particular Pollutants
granted as to liability; cross motions for summary                     149Ek282 k. Volatile Organic Com-
judgment with respect to counterclaim denied.             pounds. Most Cited Cases
                                                               (Formerly 199k25.6(5.1), 199k25.6(5) Health
                 West Headnotes




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and Environment)                                         149E Environmental Law
    Because effect of agreed order of Texas Air             149EXIII Judicial Review or Intervention
Control Board was to raise volatile organic com-               149Ek699 Injunction
pound (VOC) emissions limitations set by Texas                         149Ek700 k. In General. Most Cited
State Implementation Plan, order required approval       Cases
by United States to be effective; unless and until           (Formerly 199k25.15(2.1), 199k25.15(2) Health
such approval was given, operator of aircraft manu-      and Environment)
facturing facility was required to abide by emis-             United States was entitled to enjoin violations
sions limitations of Texas State Implementation          of Texas State Implementation Plan promulgated
Plan.                                                    pursuant to Clean Air Act with respect to adhesive
                                                         prime line at aircraft manufacturer's facility, where
[4] Environmental Law 149E         700                   adhesive prime line was extreme performance coat-
                                                         ing and emitted in excess of 3.5 pounds of volatile
149E Environmental Law
                                                         organic compounds (VOCs) per gallon of coating
   149EXIII Judicial Review or Intervention
                                                         applied.
       149Ek699 Injunction
                149Ek700 k. In General. Most Cited       [7] Indemnity 208       64
Cases
    (Formerly 199k25.15(2.1), 199k25.15(2) Health        208 Indemnity
and Environment)                                             208III Indemnification by Operation of Law
     United States was entitled to enjoin aircraft              208k63 Particular Cases and Issues
manufacturer's violations of volatile organic com-                 208k64 k. In General. Most Cited Cases
pound (VOC) emissions limits by epoxy prime line,            (Formerly 208k13.1(2.1), 208k13.1(2))
where manufacturer did not contest violations of              Aircraft manufacturer was entitled to assert
limits on line.                                          against United States, by way of recoupment, in-
                                                         demnification claim in United States' action for per-
[5] Environmental Law 149E         282                   manent injunctive relief and civil penalties based
                                                         on manufacturer's alleged violation of Texas State
149E Environmental Law
                                                         Implementation Plan promulgated pursuant to
   149EVI Air Pollution
                                                         Clean Air Act, where United States Air Force con-
       149Ek275 Particular Pollutants
                                                         trolled all activities at manufacturer's facility and
               149Ek282 k. Volatile Organic Com-
                                                         was responsible for compliance with Act. Clean Air
pounds. Most Cited Cases
                                                         Act, §§ 101-403, as amended, 42 U.S.C.A. §§ 7401
     (Formerly 199k25.6(5.1), 199k25.6(5) Health
                                                         -7642.
and Environment)
    Chemical milling maskant operation at aircraft       [8] United States 393        130(6.1)
manufacturer's facility was surface coating process
subject to rule requiring calculation of pounds of       393 United States
volatile organic compound (VOC) emissions per               393IX Actions
gallon of coating applied, even though maskant was             393k130 Set-Off and Counterclaim
temporary coating used during production process                  393k130(6) Against United States
and not permanent coating protecting finished                             393k130(6.1) k. In General. Most
product.                                                 Cited Cases
                                                            (Formerly 393k130(6))
[6] Environmental Law 149E         700                       When United States institutes action, defendant
                                                         can assert by way of recoupment any claim arising




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out of same transaction or occurrence as original         Michael Lowenberg and Antonie Wells Whittie,
claim in order to reduce or defeat Government's re-       Akin, Gump, Strauss, Hauer & Feld, Dallas, Tex.,
covery.                                                   Herbert L. Fenster, Tami Lyn Azorsky, McKenna
                                                          & Cuneo, Washington, D.C., Michael T.
[9] Federal Civil Procedure 170A         2492             Kavanaugh, McKenna & Cuneo, Los Angeles, Cal.,
                                                          for defendant.
170A Federal Civil Procedure
    170AXVII Judgment
       170AXVII(C) Summary Judgment                                            ORDER
          170AXVII(C)2 Particular Cases                   McBRYDE, District Judge.
              170Ak2492 k. Contract Cases in Gen-             Pending before the court are five motions for
eral. Most Cited Cases                                    summary judgment, three filed by plaintiff, United
     Genuine issue of material fact existed as to         States of America, and two filed by defendant,
whether United States Air Force made available to         General Dynamics Corporation. The court, having
aircraft manufacturer certain funds to install volat-     considered the morass of pleadings in this action,
ile organic compound (VOC) emissions control              makes the following determination:
equipment at manufacturer's facility precluding
summary judgment in favor of manufacturer on its               Plaintiff filed its original complaint on May 7,
indemnification counterclaim to action by United          1987, under 42 U.S.C. § 7413 for permanent in-
States for permanent injunctive relief and civil pen-     junctive relief and civil penalties based on defend-
alties based on manufacturer's alleged violations of      ant's alleged violations of the Texas State Imple-
Texas State Implementation Plan promulgated pur-          mentation Plan *722 (“SIP”) promulgated pursuant
suant to Clean Air Act, even though Air Force con-        to the Clean Air Act, 42 U.S.C. §§ 7401-7642.
trolled all activities at manufacturer's facility and     After having its motion to dismiss denied, defend-
was responsible for compliance with Clean Air Act.        ant filed its answer and counterclaim on July 15,
Clean Air Act, §§ 101-403, as amended, 42                 1988.
U.S.C.A. §§ 7401-7642.
                                                               Defendant operates Air Force Plant No. 4 in
*721 F. Henry Habicht II, Asst. Atty. Gen., Land          Tarrant County, Texas, at which F-16 aircraft are
and Natural Resources Div., U.S. Dept. of Justice,        produced. The facility is owned by plaintiff and all
Linda C. Anderson, Environmental Enforcement              activities at the facility are controlled by the United
Section, Land and Natural Resources Div., U.S.            States Air Force (“USAF”). Plaintiff's complaint al-
Dept. of Justice, Washington, D.C., Evan L. Pear-         leges that certain operations conducted at the facil-
son, Asst. Regional Counsel, U.S. E.P.A., Region          ity emitted or emit volatile organic compounds
VI, Dallas, Tex., Wayne Hughes, Asst. U.S. Atty.,         (“VOCs”) in excess of the limits set by the SIP,
Fort Worth, Tex., Peter R. Mounsey, Steven Novick         Texas Air Control Board Regulation V, Rules
, Trial Attys., Richard B. Stewart, Asst. Atty. Gen.,     115.191 and 115.194. In particular, plaintiff com-
Environmental Enforcement Section, Land and Nat-          plains of (a) the chemical milling maskant opera-
ural Resources Div., U.S. Dept. of Justice, Ken           tion, utilized from January 1, 1983, through the
Harmon, Office of Enforcement and Compliance              present; (b) the epoxy (or PRC) prime line, oper-
Monitoring, U.S. E.P.A., Ashley Doherty, Environ-         ated from January 1, 1983, through March 31,
mental Defense Section, Environment & Natural             1986; and (c) the adhesive prime line operated
                                                                                     FN1
Resources Div., Stuart M. Gerson, J. Patrick Glynn,       since February 1, 1986.
Leslie Yu, Stephen Doyle, Torts Branch, Civ. Div.,
                                                                   FN1. Plaintiff's complaint alleges that the
U.S. Dept. of Justice, Washington, D.C., for
                                                                   adhesive prime line has been in operation
plaintiff.




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         since November 1, 1985. Apparently the            emissions limits.
         parties have determined through discovery
         that the start date was actually February 1,           [1] The dispositive issue as to plaintiff's claims
         1986. See, e.g., Memorandum in Support            in this action is the effect of the agreed board order
         of Plaintiff's Motion for Summary Judg-           of January 1986. The parties agree that defendant
         ment on the Issue of Liability, at 20.            has complied with the order. The dispute arises be-
                                                           cause plaintiff contends that the order is a departure
                                                                                                         FN2
     Pursuant to the Clean Air Act and the Texas           from the requirements of the Texas SIP.             De-
SIP, all affected persons within certain named             fendant claims that the order is within the Texas
counties, including Tarrant County, were required          SIP and that TACB's interpretation of the Texas
to comply with emissions standards set by the              SIP must be given deference by the EPA.
Texas Air Control Board (“TACB”) as soon as
practicable, but not later than December 31, 1982.                  FN2. As the court has previously determ-
The provision relevant to defendant's operations at                 ined, plaintiff has standing to bring this ac-
Air Force Plant No. 4 is set forth in TACB Regula-                  tion. See General Motors Corp. v. United
tion V, Rule 115.191(9)(A)(iii):                                    States, 496 U.S. 530, ----, 110 S.Ct. 2528,
                                                                    2533-34, 110 L.Ed.2d 480, 490 (1990).
  (A) Volatile organic compound emissions from
  the coating (prime and topcoat, or single coat) of            [2] Defendant correctly points out that a federal
  miscellaneous metal parts and products shall not         agency should defer to a state's interpretation of the
  exceed the following limits for each surface coat-       terms of its air pollution control plan when such in-
  ing type:                                                terpretation is consistent with the Clean Air Act.
                                                           Florida Power and Light Co. v. Costle, 650 F.2d
    .....                                                  579, 588 (5th Cir.1981). The court finds, however,
                                                           that TACB's interpretation of the Texas SIP is not
    (iii) 3.5 pounds per gallon (0.42 kg/liter) of         consistent with the Clean Air Act because the
    coating (minus water) applied as an extreme            agreed board order would encourage, rather than
    performance coating....                                discourage, the uncontrolled use of VOC-emitting
                                                           solvents. In other words, the agreed board order
     On June 3, 1985, the TACB issued a notice of
                                                           does not fall within the parameters of the Texas
violation for VOC emissions at Air Force Plant No.
                                                           SIP. First, the order allows plantwide averaging of
4 in excess of the Texas SIP limit of 3.5 pounds of
                                                           emissions of *723 VOCs to determine whether
VOCs per gallon of surface coating (minus water).
                                                           VOC emissions exceed 3.5 pounds per gallon of
On or about July 11, 1985, the Regional Adminis-
                                                           coating applied. Second, the order allows gallons of
trator of the Environmental Protection Agency
                                                           solvent washings used to be included in the total
(“EPA”) Region V issued a notice of violation to
                                                           gallons of surface coating for the purposes of de-
defendant pursuant to 42 U.S.C. § 7413(a)(1).
                                                           termining the number of gallons of coating applied.
Thereafter, TACB, defendant, USAF, and others,
with the knowledge of EPA, met on several occa-                The facts in this case are analogous to those in
sions and worked out a plan of compliance. An              American Cyanamid Company v. U.S. Environ-
agreed board order was entered on January 17,              mental Protection Agency, wherein the plaintiff
1986, which purported to provide for the full resol-       proposed the application of a so-called “bubble
ution of all violations alleged in the notices of viol-    concept” or plantwide averaging of VOC emissions
ation issued by TACB and EPA. A second notice of           to determine its compliance with Louisiana emis-
violation was issued by EPA on February 24, 1987,          sions standards. 810 F.2d 493 (5th Cir.1987). Under
alleging that the adhesive prime line exceeded             the proposed plan, emissions from one source with-




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in the plant could exceed emissions limits as long          if solvents were included as “coating”, the agreed
as emissions from another source were low enough            board order does not limit the solvents included to
to offset the noncompliance. Id. at 497. The Louisi-        those associated with coating operations. Rather,
ana Office of Environment Affairs (“Louisiana               the order allows all general purpose cleaners used
OEA”) accepted the bubble concept and proposed              at Air Force Plant No. 4 to be included in the calcu-
to EPA that the Louisiana SIP be amended to allow           lations.
use of averaging. The EPA's regional office recom-
mended that the SIP revision be denied and issued                The intent that gallons of solvent used not be
plaintiff a notice of violation. Plaintiff appealed, al-    included in the determination of gallons of coating
leging that the bubble concept was a “device” util-         applied is further made clear by Rule
ized to lower VOC emissions. The EPA determined             115.191(9)(C), which provides that if solvent wash-
that the bubble concept was not a device within the         ings are directed into closed containers (so that
meaning of the Louisiana SIP. Louisiana OEA dis-            VOC emissions are controlled rather than being dis-
agreed. The Fifth Circuit upheld the EPA's determ-          charged into the atmosphere) those emissions do
ination because it was not clearly wrong or unreas-         not count as part of the coating operation. The rule
onable and did not contradict the Louisiana SIP's           would not make sense if gallons of solvent were in-
plain meaning. Id. at 498.                                  cluded in calculating gallons of coating, because
                                                            there would be no incentive for running solvents in-
     Likewise, in this case, the court determines that      to closed containers. If the interpretation urged by
plaintiff's objection to plantwide averaging of VOC         defendant were allowed to prevail, defendant and
emissions is not clearly wrong or unreasonable and          others would actually be encouraged to use more
is therefore binding. Id. The TACB interpretation of        uncontrolled VOC emitting solvents rather than
the Texas SIP to allow plantwide averaging is un-           fewer solvents.
reasonable, because it contradicts specific language
of the SIP, which requires each distinct surface                 [3] Because the effect of the agreed board order
coating operation to comply with VOC emissions              is to raise the emissions limitations set by the Texas
        FN3                                                 SIP, the order requires approval by plaintiff to be
limits.       In this case, the summary judgment
evidence reflects, and the court finds, that the three      effective. United States v. Arkwright, 690 F.Supp.
lines at issue are separate and distinct.                   1133, 1141 (D.N.H.1988). Unless and until such
                                                            approval is given, defendant must abide by the lim-
         FN3. TACB Regulation V, Rule 101.1                 itations of the Texas SIP. General Motors, 496 U.S.
         defines surface coating processes as               at ----, 110 S.Ct. at 2533-34, 110 L.Ed.2d at 490-91
         “continuous or assembly-line surface coat-         .
         ing operations using solvent-containing li-
         quids.”                                                [4] Having determined that defendant's compli-
                                                            ance with the agreed board order is not the equival-
    The second clearly nonsensical portion of the           ent of compliance with the *724 Texas SIP, the
agreed board order allows defendant to include              court next considers whether the three lines indi-
solvent washings in its calculations of VOCs emit-          vidually complied or comply with the SIP. Plaintiff
ted per gallon of surface coating used. Rule                contends that, at the very least, it is entitled to judg-
115.191(9)(A) refers specifically to “[pounds of            ment with regard to the epoxy prime line for viola-
VOC emissions] per gallon of coating applied.”              tions of the Texas SIP between January 1, 1983,
Solvent washings are solvents used to clean parts           and March 31, 1986. In response, defendant makes
and to clean up generally after coating operations          excuses for, but does not contest, the violation of
are completed. Haltmeyer depo. at 18-23. Solvents           emissions limits by the epoxy prime line. Accord-
are not part of the coating applied. Moreover, even         ingly, the court finds that plaintiff is entitled to




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summary judgment on this issue.                                [6] The third surface coating process is the ad-
                                                           hesive prime line, which has been in operation
     [5] The next issue is whether the chemical            since February 1, 1986. The parties agree that the
milling maskant operation is a surface coating pro-        adhesive prime line is an extreme performance
cess governed by Rule 115.191. The maskant ap-             coating. Moreover, defendant admits that the adhes-
plication is an intermediate step in the process of        ive prime line emits in excess of 3.5 pounds of
manufacturing airplane parts and is used to protect        VOCs per gallon of coating applied. Accordingly,
parts that are to be etched. Parts are dipped in a         plaintiff is entitled to summary judgment on this is-
mixture of maskant and solvent, then dried. Areas          sue as well.
on the parts that are to be etched are then unmasked
by hand using templates. After the etching process,             [7] The final issue to be considered is whether
the remaining maskant is removed and the parts             either party is entitled to summary judgment on de-
proceed to a machining area for final preparation.         fendant's counterclaim. The counterclaim essen-
The maskant process results in the emission of             tially alleges that defendant is entitled to be indem-
VOCs.                                                      nified by plaintiff because USAF controls all activ-
                                                           ities at Air Force Plant No. 4 and is responsible for
     Plaintiff argues that the maskant is a coating        compliance with the Clean Air Act. Plaintiff claims
within the definition of Rule 115.191. Defendant           that it is immune from suit in this instance.
argues that the maskant is not a “coating that will
protect the airplane part in the environment in                 [8] The law is clear that when the United States
which it will be used” and, further, that the rule ap-     institutes an action, a defendant can assert by way
plies only to the process of finishing parts and not       of recoupment any claim arising out of the same
to intermediate steps, i.e. permanent and not tem-         transaction or occurrence as the original claim in
porary coatings. Defendant bases its arguments on          order to reduce or defeat the government's recov-
the following passage from EPA's Control Techno-           ery. United States v. U.S. Fidelity and Guaranty
logy Guidelines:                                           Co., 309 U.S. 506, 511, 60 S.Ct. 653, 655-56, 84
                                                           L.Ed. 894 (1940); United States v. Shaw, 309 U.S.
     The coatings are a critical constituent of the        495, 501, 60 S.Ct. 659, 661-62, 84 L.Ed. 888
  metal coating industry. In many cases the coat-          (1940); Livera v. First National State Bank of New
  ings must provide aesthetic appeal, but in all           Jersey, 879 F.2d 1186, 1196 (3rd Cir.1989). There-
  cases, they must protect the metal from the atmo-        fore, the court denies plaintiff's motions for judg-
  sphere in which it will be used. Adverse condi-          ment on defendant's counterclaim.
  tions may include moisture, sunlight, extreme
  temperature, abrasion and corrosive chemicals.                [9] As for defendant's motion for summary
                                                           judgment on its counterclaim, the court finds that
     Nothing in the rule or the CTG passage states         defendant has failed to show that there is no genu-
that a coating is a substance that protects only fin-      ine issue of material fact and that defendant is en-
ished products. The maskant clearly protects metal         titled to judgment as a matter of law. As previously
from the atmosphere of corrosive chemicals during          *725 discussed in the order of June 9, 1988, the re-
the production process. Accordingly, plaintiff's           cord reflects that, at one time, USAF made avail-
conclusion that the maskant is a step of the coating       able to defendant certain funds to install VOC
process subject to Rule 115.191 is not clearly             emission control equipment at Air Force Plant No.
wrong or unreasonable and is entitled to deference.        4. However, defendant declined the opportunity to
American Cyanamid, 810 F.2d at 498. Summary                install the equipment. Thus, a genuine issue of ma-
judgment will, therefore, be rendered for plaintiff        terial fact exists with respect to defendant's entitle-
on this issue.                                             ment to the relief sought.




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     The court ORDERS, ADJUDGES and DE-                    cesses.
CREES that plaintiff's motion for summary judg-
ment be and is hereby granted as to the liability is-           Accordingly, during the pendency of the SIP
sues set forth herein. The court will hear arguments       revision request, GD is ORDERED to submit pro-
at the pretrial conference regarding the granting of       gress reports to the USAF and EPA every six
the injunctive relief sought by plaintiff and the tim-     months disclosing the progress made toward con-
ing thereof. Plaintiff's request for penalties will be     trolling emissions from the maskant process and
tried separately. The court further ORDERS that            implementing the SIP revision request.
the cross-motions for summary judgment with re-
                                                                If the emissions from the maskant are not re-
gard to defendant's counterclaim be and are hereby
                                                           duced to the level required by the then applicable
denied. The court further ORDERS that the pretrial
                                                           SIP provision at the end of three years from the
order submitted by the parties shall include a separ-
                                                           date of this order, GD is enjoined from any further
ate section specifying legal and fact issues to be
                                                           operation of that process in Plant No. 4 after that
presented to the court with regard to the imposition
                                                           date. Similarly, GD is enjoined from any further
and amount of penalties, if any.
                                                           operation of the adhesive prime process at the end
    To the extent that this order conflicts with any       of three years from the date of this order, unless the
prior orders of the court, such prior orders are           emissions from that process will not exceed the
hereby vacated.                                            level of the then applicable SIP provision.

            SUPPLEMENTAL ORDER                                  GD is further ORDERED to cooperate fully
    On January 2, 1991, this court entered an order        with the USAF and EPA with respect to all matters
finding that General Dynamics (GD) violated the            covered by this order as long as this order is in ef-
Texas SIP with respect to the maskant, adhesive            fect; provided, however, the level of cooperation
prime, and epoxy primer surface coating processes          required by GD shall take into account the level of
operated by GD at Air Force Plant No. 4 in Fort            cooperation given to GD by USAF and EPA with
Worth, Texas. GD previously brought the epoxy              respect to such matters.
primer surface coating process into compliance
                                                                The United States may request the court to ac-
with the emission limitations set forth in the Texas
                                                           celerate the effective date of the injunction that pro-
SIP. Accordingly, injunctive relief is necessary
                                                           hibits further operation of the maskant and the ad-
with respect to the maskant and adhesive prime
                                                           hesive prime processes based on progress disclosed
processes only. Upon consideration of the argu-
                                                           by GD in its bi-annual progress reports.
ments of counsel for the United States and counsel
for General Dynamics, the court issues the follow-         N.D.Tex.,1991.
ing order and injunctive relief against General Dy-        U.S. v. General Dynamics Corp.
namics.                                                    755 F.Supp. 720, 32 ERC 1916, 21 Envtl. L. Rep.
                                                           20,785
     On or about October 12, 1990, General Dy-
namics and the United States Air Force (USAF)              END OF DOCUMENT
submitted a site-specific SIP revision request to the
Texas Air Control Board (TACB) for the purposes
of modifying the Texas SIP requirements pertaining
to Air Force Plant No. 4 in Fort Worth, Texas. This
site-specific SIP revision request contains provi-
sions, which, if approved and adopted, will regulate
both the maskant and adhesive prime coating pro-




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                                                         Insurance 217       2942

           United States District Court,                 217 Insurance
                W.D. Wisconsin.                             217XXIII Duty to Defend
     UNITED STATES of America, Plaintiff,                       217k2942 k. Questions of Law or Fact. Most
                        v.                               Cited Cases
Peter THORSON, Managed Investments Inc., Con-                Under Wisconsin law, existence of duty to de-
struction Management, Inc. and Gerke Excavating          fend is question of law, and thus may be resolved
                Inc., Defendants,                        on summary judgment.
 Acuity and Rural Mutual Insurance Company, In-
             tervening Defendants.                       [2] Insurance 217      2914

                No. 03-C-00740-C.                        217 Insurance
                  Dec. 29, 2003.                            217XXIII Duty to Defend
                                                               217k2912 Determination of Duty
Background: United States government brought                      217k2914 k. Pleadings. Most Cited Cases
action under Clean Water Act (CWA) against de-               Insurer has duty to defend insured under Wis-
velopers and excavator, seeking to permanently en-       consin law only if complaint alleges facts that, if
join unauthorized discharge of pollutants. Insurers      proved, would give rise to recovery under terms
for developers and excavator intervened, seeking         and conditions of insurance policy.
determinations that they were not under duty to de-
fend.                                                    [3] Insurance 217      2914

Holdings: On developers' insurer's motion for de-        217 Insurance
claratory judgment, and on excavator's insurer's            217XXIII Duty to Defend
motion for summary judgment, the District Court,                217k2912 Determination of Duty
Crabb, Chief Judge, held that:                                     217k2914 k. Pleadings. Most Cited Cases
(1) developers could not recover for any punitive             Insurer has duty under Wisconsin law to defend
damages incurred under CWA, and                          insured in any suit in which complaint alleges facts
(2) alleged discharges of dredged and fill material      that, if proved, would give rise to recovery under
would not fall within scope of “property damage”         terms and conditions of insurance policy.
coverage.
                                                         [4] Insurance 217      2914
    Motions granted.
                                                         217 Insurance
                 West Headnotes                             217XXIII Duty to Defend
                                                               217k2912 Determination of Duty
[1] Federal Civil Procedure 170A       2501                       217k2914 k. Pleadings. Most Cited Cases

170A Federal Civil Procedure                             Insurance 217       2915
   170AXVII Judgment
      170AXVII(C) Summary Judgment                       217 Insurance
         170AXVII(C)2 Particular Cases                      217XXIII Duty to Defend
             170Ak2501 k. Insurance Cases. Most                217k2912 Determination of Duty
Cited Cases                                                         217k2915 k. Matters Beyond Pleadings.




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Most Cited Cases                                           tracting parties.
    Insurer's duty to defend under Wisconsin law is
determined by comparing allegations within four            [8] Insurance 217       1818
corners of complaint to terms of insurance policy;
                                                           217 Insurance
merits of claim are irrelevant in making such de-
                                                              217XIII Contracts and Policies
termination.
                                                                 217XIII(G) Rules of Construction
[5] Insurance 217       2913                                        217k1815 Reasonableness
                                                                       217k1818 k. Reasonable Persons. Most
217 Insurance                                              Cited Cases
   217XXIII Duty to Defend                                     Under Wisconsin law, language of insurance
      217k2912 Determination of Duty                       policy should be interpreted to mean what reason-
           217k2913 k. In General; Standard. Most          able person in position of insured would have un-
Cited Cases                                                derstood words to mean.

Insurance 217       2930                                   [9] Insurance 217       1832(1)

217 Insurance                                              217 Insurance
   217XXIII Duty to Defend                                    217XIII Contracts and Policies
          217k2930 k. Termination of Duty; With-                  217XIII(G) Rules of Construction
drawal. Most Cited Cases                                                217k1830 Favoring Insureds or Benefi-
    Since insurer's obligation to defend suit under        ciaries; Disfavoring Insurers
Wisconsin law is not extinguished if insured is                           217k1832 Ambiguity, Uncertainty or
eventually found to be faultless, courts regard duty       Conflict
to defend as broader than duty to indemnify.                                  217k1832(1) k. In General. Most
                                                           Cited Cases
[6] Insurance 217       1806
                                                           Insurance 217        1835(2)
217 Insurance
   217XIII Contracts and Policies                          217 Insurance
       217XIII(G) Rules of Construction                       217XIII Contracts and Policies
          217k1806 k. Application of Rules of Con-                217XIII(G) Rules of Construction
tract Construction. Most Cited Cases                                    217k1830 Favoring Insureds or Benefi-
     Under Wisconsin law, interpretation of insur-         ciaries; Disfavoring Insurers
ance contract is controlled by principles of contract                    217k1835 Particular Portions or Provi-
construction.                                              sions of Policies
                                                                             217k1835(2) k. Exclusions, Excep-
[7] Insurance 217       1812                               tions or Limitations. Most Cited Cases
                                                                Under Wisconsin law, ambiguous terms and
217 Insurance
                                                           exclusionary provisions within insurance policy are
   217XIII Contracts and Policies
                                                           to be narrowly construed against insurer.
      217XIII(G) Rules of Construction
         217k1811 Intention                                [10] Insurance 217       1808
              217k1812 k. In General. Most Cited
Cases                                                      217 Insurance
    Goal in insurance contract construction under             217XIII Contracts and Policies
Wisconsin law is to determine intentions of con-                 217XIII(G) Rules of Construction




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          217k1808 k. Ambiguity in General. Most               217XVII Coverage--Liability Insurance
Cited Cases                                                       217XVII(A) In General
    Under Wisconsin law, terms and conditions of                       217k2267 Insurer's Duty to Indemnify in
insurance policy are “ambiguous” if they are fairly        General
susceptible to more than one construction.                                  217k2269 k. Insured's Liability for
                                                           Damages. Most Cited Cases
[11] Insurance 217        2913                                  Under Wisconsin law, injunction to prevent fu-
                                                           ture injury is equitable remedy that is not recover-
217 Insurance
                                                           able as “damages” under commercial general liabil-
   217XXIII Duty to Defend
                                                           ity policy.
       217k2912 Determination of Duty
            217k2913 k. In General; Standard. Most         [15] Environmental Law 149E          223
Cited Cases
    Under Wisconsin law, insurer has duty to de-           149E Environmental Law
fend if policy even arguably covers claim; however,           149EV Water Pollution
such principle does not allow court to eviscerate ex-            149Ek223 k. Penalties and Fines. Most Cited
clusion that is clear from face of insurance policy.       Cases
                                                               Under Clean Water Act (CWA), civil penalties
[12] Insurance 217        2914                             are punitive in nature. Federal Water Pollution
                                                           Control Act Amendments of 1972, § 101 et seq., as
217 Insurance
                                                           amended, 33 U.S.C.A. § 1251 et seq.
   217XXIII Duty to Defend
       217k2912 Determination of Duty                      [16] Insurance 217       2261
          217k2914 k. Pleadings. Most Cited Cases
     Under Wisconsin law, determining existence of         217 Insurance
insurer's duty to defend requires two-step analysis:          217XVII Coverage--Liability Insurance
(1) court must compare allegations contained with-                217XVII(A) In General
in four corners of complaint with terms of policy                     217k2261 k. Public Policy Limitations in
and determine whether there is initial coverage, and       General. Most Cited Cases
(2) if court determines that there is initial coverage,         Wisconsin law does not prohibit practice of
it must determine whether exclusion provision ap-          shifting punitive damages to insurer.
plies.
                                                           [17] Insurance 217       2278(7)
[13] Insurance 217        2913
                                                           217 Insurance
217 Insurance                                                 217XVII Coverage--Liability Insurance
   217XXIII Duty to Defend                                       217XVII(A) In General
       217k2912 Determination of Duty                                217k2273 Risks and Losses
            217k2913 k. In General; Standard. Most                      217k2278 Common Exclusions
Cited Cases                                                                 217k2278(7) k. Punitive Damages.
    If no form of relief sought by plaintiff is recov-     Most Cited Cases
erable, then plaintiff's insurer has no duty to defend         Any civil penalties incurred under Clean Water
under Wisconsin law.                                       Act (CWA) by insured property developers, stem-
                                                           ming from purported unauthorized discharges of
[14] Insurance 217        2269                             pollutants, would be punitive in nature, and thus
                                                           would not be within scope of insurer's coverage un-
217 Insurance




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der general liability insurance policy, since policy         law is determined by complaint's allegations, not by
specifically excluded recovery for punitive dam-             its merits.
ages. Federal Water Pollution Control Act Amend-
ments of 1972, § 101 et seq., as amended, 33                 [21] Insurance 217       2275
U.S.C.A. § 1251 et seq.
                                                             217 Insurance
[18] Insurance 217           2275                                217XVII Coverage--Liability Insurance
                                                                    217XVII(A) In General
217 Insurance                                                          217k2273 Risks and Losses
    217XVII Coverage--Liability Insurance                                    217k2275 k. Accident, Occurrence or
        217XVII(A) In General                                Event. Most Cited Cases
           217k2273 Risks and Losses                              Property damage alleged in complaint brought
                217k2275 k. Accident, Occurrence or          under Clean Water Act (CWA) against excavator,
Event. Most Cited Cases                                      stemming from alleged discharges of dredged and
     Under Wisconsin law, “accident,” for purpose            fill material into protected wetlands, was intention-
liability insurance coverage, is unexpected, undesir-        al in nature, and thus would not fall within scope of
able event or unforeseen incident which is charac-           property damage covered under general liability in-
terized by lack of intention.                                surance policy; complaint averred that excavator
                                                             and developer formed work agreement under both
[19] Torts 379         148                                   parties intended and anticipated that material would
                                                             be discharged into wetlands. Federal Water Pollu-
379 Torts
                                                             tion Control Act Amendments of 1972, § 101 et
   379I In General
                                                             seq., as amended, 33 U.S.C.A. § 1251 et seq.
       379k148 k. Questions of Law or Fact. Most
Cited Cases                                                  *830 Leslie K. Herje, Madison, WI, for Plaintiff.
   (Formerly 379k28)
                                                             WIlliam T. Curran, Curran, Hollenbeck & Orton,
Torts 379        144                                         S.C., Mauston, WI, for Defendants.

379 Torts
   379I In General                                                         OPINION AND ORDER
       379k142 Evidence                                      CRABB, Chief Judge.
           379k144 k. Presumptions and Inferences.                This is a civil action for injunctive and monet-
Most Cited Cases                                             ary relief in which the United States contends that
   (Formerly 379k28)                                         defendants Peter Thorson, Managed Investments
     Although issue of intent is typically question of       Inc., Construction Management, Inc. and Gerke Ex-
fact under Wisconsin law, intent may be inferred as          cavating, Inc. violated 33 U.S.C. §§ 1319(b) and (d)
matter of law when act is substantially certain to           of the Clean Water Act “for the unauthorized dis-
cause particular injury.                                     charge of pollutants into waters of the United
                                                             States.” Plaintiff asks the court to (1) permanently
[20] Insurance 217           2914                            enjoin defendants from discharging pollutants into
                                                             the waters of the United States without a permit; (2)
217 Insurance
                                                             require defendants to remedy the damage caused by
   217XXIII Duty to Defend
                                                             their unlawful activities at their own expense; and
      217k2912 Determination of Duty
                                                             (3) impose civil penalties pursuant to 33 U.S.C. §
         217k2914 k. Pleadings. Most Cited Cases
                                                             1319(d). Jurisdiction is present. 28 U.S.C. § 1331.
    Existence of duty to defend under Wisconsin




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     [1] Intervening defendant Acuity provides gen-       Investments, Inc. collectively as “Thorson”). Inter-
eral liability insurance to defendant Gerke; inter-       vening defendant Acuity is a Wisconsin corporation
vening defendant Rural Mutual Insurance Company           with its principal place of business in Sheboygan,
provides commercial liability insurance to defend-        Wisconsin. It issued a comprehensive general liab-
ants Thorson, Managed Investments and Construc-           ility policy to defendant Gerke for the period of
tion Management. Presently before the court is in-        January 1, 2001, through January 1, 2002. Interven-
tervening defendant Rural Mutual's motion for de-         ing defendant Rural Mutual is a Wisconsin corpora-
claratory judgment and intervening defendant Acu-         tion with its principal place of business in Madison,
ity's motion for summary judgment. Both interven-         Wisconsin. It issued a general liability policy and
ing *831 defendants seek a determination that they        an excess liability policy to defendant Thorson for
are not under a duty to defend in this suit. Because      the period of March 15, 2001, through March 15,
the existence of a duty to defend is a question of        2002. All relevant policies were issued in the state
law, this issue may be resolved on summary judg-          of Wisconsin.
ment. Doyle v. Engelke, 219 Wis.2d 277, 284, 580
N.W.2d 245, 248 (1998).                                                        B. The Claim
                                                               Plaintiff brought this action against defendants
     [2] I conclude that intervening defendants Rur-      for violating 33 U.S.C. §§ 1319(b) and (d) of the
al Mutual and Acuity have no duty to defend under         Clean Water Act, which prohibits parties from dis-
the relevant policies. An insurer has a duty to de-       charging pollutants into navigable waters without a
fend an insured only if the complaint alleges facts       permit. Plaintiff alleges that defendants or persons
that, if proved, “would give rise to recovery under       acting on their behalf, discharged into waters of the
the terms and conditions of the insurance policy,”        United States “dredged” or “fill” material, which
Elliott v. Donahue, 169 Wis.2d 310, 320-21, 485           the act defines as “pollutants.” Plaintiff asks the
N.W.2d 403 (1992). The relevant policies indemni-         court to (1) permanently enjoin defendants from
fy defendants against amounts incurred as a result        discharging pollutants into the waters of the United
of accidental property damage. Because the alleged        States without a permit; (2) require defendants to
actions of defendants were substantially certain to       remedy the damage caused by their unlawful activ-
cause the alleged property damage, the property           ities at their own expense; and (3) impose civil pen-
damage was not accidental. The policies do not            alties on defendants pursuant to 33 U.S.C. §
provide coverage for the damages alleged in this          1319(d). (Defendant Thorson makes a number of
action. Therefore, the insurance providers are under      arguments regarding intervening defendant Rural
no duty to defend.                                        Mutual's proposed facts about the allegations of the
                                                          complaint. However, he does not dispute that the
     I find from the parties' proposed findings of        allegations were made. Rather, he argues that the
fact that the following are material and undisputed.      allegations are untrue or misleading. These disputes
                                                          are neither responsive to the facts proposed nor rel-
              UNDISPUTED FACTS
                                                          evant; “ ‘the duty to defend is triggered by the al-
                   A. The Parties
                                                          legations contained within the four corners of the
    Defendants Construction Management, Inc.,
                                                          complaint’ ... and has nothing to do with the merits
Managed Investments, Inc. and Gerke Excavating
                                                          of the claim.” Smith v. Katz, 226 Wis.2d 798, 806,
Inc. are Wisconsin corporations, each having its
                                                          595 N.W.2d 345, 350 (1999) (quoting *832New-
principal place of business in Tomah, Wisconsin.
                                                          house v. Citizens Security Mutual Insurance Co.,
Defendant Thorson is an individual who acted at all
                                                          176 Wis.2d 824, 835, 501 N.W.2d 1 (1993)).)
relevant times as an agent for defendant Investment
                                                          Plaintiff makes the following allegations of fact in
Management, Inc. (I will refer to defendants Thor-
                                                          its complaint.
son, Construction Management, Inc. and Managed




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     Defendant Thorson owns or is in the process of       Water Act. Two different representatives of the
purchasing 5.8 acres in LaGrange, Wisconsin. The          Corps confirmed that the site was still regulated and
property contains wetlands adjacent to Deer Creek,        that a permit was required for defendants' project.
which is a tributary of a navigable river. Because        Despite this confirmation of the need for a permit,
the wetlands adjoin navigable waters, the Clean           defendant Gerke commenced the dredging and ex-
Water Act regulates their use. Defendant Thorson          cavating on March 27, 2001, and March 28, 2001.
applied to both the Secretary of the Army, acting         Defendants discontinued their efforts when the
through the Chief of Engineers (Corps), and to the        Army Corps of Engineers issued them a cease and
Wisconsin Department of Natural Resources for a           desist order on March 28, 2001.
permit to discharge dredged or fill material at spe-
cified sites. On May 24, 1999, the Department of                           C. The Acuity Policy
Natural Resources denied defendant Thorson's ap-               The Acuity policy indemnifies defendant Gerke
plication because it did not provide a reasonable as-     for “those sums that [it] becomes legally obligated
surance that the project would comply with the            to pay as damages because of ‘bodily injury’ or
state water quality standards for wetlands. The           ‘property damage’ ” when that bodily injury or
Corps denied defendant Thorson's application two          property damage is caused by an “occurrence.” The
weeks later.                                              policy defines the term “occurrence” as “an acci-
                                                          dent, including continuous or repeated exposure to
    After this first round of denials, the United         substantially the same general harmful conditions.”
States Supreme Court issued its opinion in Solid          (The policy contains four potentially relevant ex-
Waste Agency of Northern Cook County v. United            clusions, but it is not necessary to discuss them be-
States Army Corps of Engineers, 531 U.S. 159, 121         cause the policy does not cover the property dam-
S.Ct. 675, 148 L.Ed.2d 576 (2001), which limited          age alleged by plaintiff).
the places in which the Corps could enforce the
Clean Water Act. Defendant Thorson continued to                Defendant Gerke also purchased limited pollu-
“[take] steps to have the [s]ite dredged and filled”      tion liability coverage. Under this additional cover-
in February 2001, by asking the Corps field office        age, intervening defendant Acuity is legally oblig-
whether it still considered the Clean Water Act to        ated to pay “those sums that the insured becomes
regulate the site. The Corps responded that it did.       legally obligated to pay as covered pollution costs
                                                          or expenses or as damages because of bodily injury
     Although they had not obtained a permit, de-         or property damage arising out of a pollution incid-
fendants Gerke and Thorson agreed on or about             ent.” As in the general coverage, the bodily injury
March 23, 2001, that defendant Gerke was to ex-           or property damage must be the result of an
cavate and fill a particular site owned by defendant      “occurrence;” the term “occurrence” is also defined
Thorson. The contracting parties included the fol-        as it is in the general policy. In addition, the *833
lowing clause in the agreement: “Gerke Excavating,        policy defines a “pollution incident” as an accident-
Inc. will not bear responsibility for any fines or        al discharge of pollutants.
penalties assessed by government agencies. If
project is shut down by any government agencies                       D. The Rural Mutual Policies
for any reason prior to completion, owner shall pay            Both the general liability policy and the excess
for all work completed.” The day that defendant           liability policy insure defendant Thorson against
Gerke was to start work on the site, defendant            “those sums that [it] becomes legally obligated to
Thorson contacted the Corps' district office to see       pay as damages because of ‘bodily injury’ or
whether it agreed with the opinion of the field of-       ‘property damage’ ” when that bodily injury or
fice that the site was still regulated by the Clean       property damage is caused by an “occurrence.” The
                                                          term “occurrence” is defined in both policies as “an




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accident, including continuous or repeated exposure        the contracting parties. Id. “Of primary importance
to substantially the same general harmful condi-           is that the language of an insurance policy should
tions.” Both policies exclude recovery for punitive        be interpreted to mean what a reasonable person in
damages. (Both policies contain a number of exclu-         the position of the insured would have understood
sion provisions that may preclude coverage. Again,         the words to mean.” Sprangers v. Greatway Insur-
it is unnecessary to discuss these provisions be-          ance, Co., 182 Wis.2d 521, 536, 514 N.W.2d 1, 6
cause the alleged property damage is not covered           (1994). Ambiguous terms and exclusionary provi-
by the policies.)                                          sions are to be narrowly construed against the in-
                                                           surer. Peace v. Northwestern National Insurance
                      OPINION                              Co., 228 Wis.2d 106, 121 596 N.W.2d 429, 436
     [3][4][5] Because all of the policies involved in     (1999). Terms and conditions are ambiguous if
this suit were issued in Wisconsin, Wisconsin law          “they are fairly susceptible to more than one con-
governs their interpretation. Lexington Insurance          struction.” Kremers-Urban, 119 Wis.2d at 735, 351
Company v. Rugg & Knopp, Inc., 165 F.3d 1087,              N.W.2d 156. Thus, there is a duty to defend if the
1090 (7th Cir.1999); Kremers-Urban Co. v. Amer-            policy even arguably covers the claim. “However,
ican Employers Ins. Co., 119 Wis.2d 722, 351               this principle does not allow a court to eviscerate an
N.W.2d 156 (1984). An insurer has a duty to defend         exclusion that is clear from the face of the insur-
an insured in any suit in which the complaint al-          ance policy.” Peace, 228 Wis.2d at 121, 596
leges facts that, if proved, “would give rise to re-       N.W.2d at 436.
covery under the terms and conditions of the insur-
ance policy.” Elliott, 169 Wis.2d at 320-21, 485               [12] Determining the existence of a duty to de-
N.W.2d 403. An insurer's duty to defend is determ-         fend requires a two-step analysis. Kalchthaler v.
ined by comparing the allegations within the four          Keller Construction Co., 224 Wis.2d 387, 397, 591
corners of the complaint to the terms of the insur-        N.W.2d 169 (Ct.App.1999). First, a court must
ance policy. Smith, 226 Wis.2d at 806, 595 N.W.2d          compare the allegations contained within the four
at 350. The merits of the claim are irrelevant in          corners of the complaint with terms of the policy
making this determination. Radke v. Fireman's              and determine whether there is initial coverage. Id.;
Fund Insurance Co., 217 Wis.2d 39, 43, 577                 *834Smith, 226 Wis.2d at 806, 595 N.W.2d at 350.
N.W.2d 366, 369 (Ct.App.1998). Because an in-              Then, if the court determines that there is initial
surer's obligation to defend a suit is not extin-          coverage, it must determine if one of the exclusion
guished if the insured is eventually found to be           provisions applies. Kalchthaler, 224 Wis.2d at
faultless, courts regard “the duty to defend [as]          397-98, 591 N.W.2d 169.
broader than the duty to indemnify.” Johnson Con-
trols, Inc. v. Employers Ins. of Wausau, 2003 WI                         A. Recoverable Damages
108, ¶ 30, 264 Wis.2d 60, 85, 665 N.W.2d 257, 270               [13] The basic scope of coverage in all of the
.                                                          relevant policies is described as amounts the in-
                                                           sured parties become legally obligated to pay as
     [6][7][8][9][10][11] “In general, the interpreta-     damages because of property damage. The first is-
tion of an insurance contract is controlled by prin-       sue is whether any of the forms of relief sought by
ciples of contract construction.” Johnson Controls,        plaintiff are the type of damages that are recover-
2003 WI 108 at ¶ 30, 665 N.W.2d 257 (citing Kuhn           able under commercial liability policies. If none of
v. Allstate Insurance Co., 193 Wis.2d 50, 60, 532          the forms of relief sought by the plaintiff are recov-
N.W.2d 124 (1995); Maas v. Ziegler, 172 Wis.2d             erable, then the insurer has no duty to defend. City
70, 79, 492 N.W.2d 621 (1992)). The goal in con-           of Edgerton v. General Casualty Company of Wis-
tract construction is determining the intentions of        consin, 172 Wis.2d 518, 493 N.W.2d 768




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(Ct.App.1992), overruled on other grounds in                    The next issue is whether the property damage
Johnson Controls, 2003 WI 108, 665 N.W.2d 257.             alleged in the complaint falls within the scope of
                                                           the “property damage” covered by the policies. The
     [14][15][16][17] Plaintiff seeks: (1) an injunc-      general policy of Acuity and both the general and
tion; (2) civil penalties; and (3) restoration of the      excess policies of Rural Mutual define the scope of
site. An injunction to prevent future injury is an         coverage as “those sums that the insured becomes
equitable remedy that is not recoverable as damages        legally obligated to pay as damages because of
under a commercial general liability policy. John-         ‘bodily injury’ or ‘property damage’ to which this
son Controls, 2003 WI 108 at ¶ 37, 665 N.W.2d              insurance applies.” Under the limited pollution li-
257. Intervening defendant Rural Mutual argues             ability coverage that defendant Gerke purchased,
that civil penalties under the Clean Water Act are         Acuity is legally obligated to pay “those sums that
not recoverable under a general liability insurance        the insured becomes legally obligated to pay as
policy. It cites City of Fort Pierre v. United Fire &      covered pollution costs or expenses or as damages
Casualty Co., 463 N.W.2d 845, 848 (S.D.1990), to           because of bodily injury or property damage arising
support its argument that civil penalties under this       out of a pollution incident.” Plaintiff has not al-
act are punitive in nature and that public policy bars     leged any bodily injury in the complaint. Therefore,
a party from shifting the burden of paying punitive        all damages must be the result of covered property
damages to an insurer. Intervening defendant Rural         damage. *835 Because all of the policies contain
Mutual is partly correct. Under the Clean Water            the same definitions regarding the term “property
Act, civil penalties are punitive in nature. Kelly v.      damage,” I will address this issue collectively.
U.S. E.P.A., 203 F.3d 519, 523 (2000). However,
unlike South Dakota, Wisconsin does not prohibit               [18] “Property damage” must be caused by an
the practice of shifting punitive damages to an in-        “occurrence.” The term “occurrence” is defined as
surer. Brown v. Maxey, 124 Wis.2d 426, 444-47,             “an accident, including continuous or repeated ex-
369 N.W.2d 677, 686-88 (1985); City of West Allis          posure to substantially the same general harmful
v. Wisconsin Electric Power Co., 2001 WI App.              conditions.” An “accident” is “ ‘[a]n unexpected,
226, ¶ 47, 248 Wis.2d 10, 44, 635 N.W.2d 873, 888          undesirable event’ or ‘unforeseen incident’ which is
. Thus, Rural Mutual's general liability might             characterized by a ‘lack of intention.’ ” Doyle, 219
provide coverage for defendant Thorson's civil pen-        Wis.2d at 284, 580 N.W.2d at 248 (quoting The
alties were it not for the specific exclusions they        American Heritage Dictionary of the English Lan-
contain. Both policies specifically exclude recovery       guage 11 (3d ed.1992)).
for punitive damages. On the other hand, interven-
ing defendant Acuity has not shown that either its              [19][20] Because the policies cover only acci-
general policy or the limited pollution liability cov-     dental property damage, no duty to defend arises if
erage have similar exclusions. Moreover, although          the property damage alleged in the complaint is
the Rural Mutual policies would not provide cover-         clearly the intended or expected result of the al-
age for the first two types of relief sought by            leged actions of defendants Thorson and Gerke.
plaintiff, the cost or burden of restoring the site is     School District of Shorewood v. Wausau Insurance
presumptively a recoverable damage under com-              Co., 170 Wis.2d 347, 364, 488 N.W.2d 82, 87
mercial general liability policies. Johnson Controls,      (1992). Conversely, if the alleged damage is even
2003 WI 108 at ¶ 5, 665 N.W.2d 257. Thus, the              arguably an accidental consequence of defendants'
remedies sought include recoverable forms of               alleged acts, the intervening defendants will have a
“damages.”                                                 duty to defend the suit unless they can show that an
                                                           exclusion applies. Id. Although the issue of intent is
          B. Scope of “Property Damage”                    typically a question of fact, Gouger v. Hardtke, 167




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Wis.2d 504, 512, 482 N.W.2d 84 (1992), intent              and Gerke violated the law intentionally; the
may be inferred as a matter of law when an act is          policies indemnify the insureds for accidental
substantially certain to cause a particular injury. Id.    “property damage” and not accidental violations of
at 512, 482 N.W.2d 84; C.L. v. School District of          the law. Finally, a mistake of law does not exoner-
Menomonee Falls, 221 Wis.2d 692, 700, 585                  ate a party's otherwise intentional actions; know-
N.W.2d 826 (Ct.App.1998). Defendants' actual ac-           ledge of the law is presumed. Cf. State v. Vinson,
tions and intent are irrelevant because the existence      269 Wis. 305, 309, 70 N.W.2d 1, 4 (1955); *836
of a duty to defend is determined by the complaint's       State v. Britzke, 108 Wis.2d 675, 683, 324 N.W.2d
allegations and not by its merits. Radke, 217 Wis.2d       289, 292 (Ct.App.1982) (“Failure to know that
at 43, 577 N.W.2d at 369.                                  one's conduct is criminally punishable is not a de-
                                                           fense.”).
     [21] The property damage alleged in the com-
plaint is the discharge of pollutants (dredged and               Defendants rely on City of Fort Pierre, in
fill material) into the wetlands on the site. Plaintiff    which the court held that the insurer would have
alleges that defendants Thorson and Gerke formed           had a duty to defend an insured that filled in wet-
an agreement under which defendant Gerke was to            lands without permit unless the allegations in com-
excavate and fill the site and that defendant Gerke        plaint indicated that the insured's failure to obtain
began to excavate and fill the wetlands on the site        permit was intentional. Id. 463 N.W.2d at 847.
in accordance with this agreement. These alleged           However, defendants fail to recognize that the
acts indicate that defendants both intended and anti-      scope of the coverage they have purchased is en-
cipated that dredged or fill material would be dis-        tirely different from the coverage provided by the
charged into the wetlands.                                 policy in City of Fort Pierre. Both the defendants in
                                                           that case and the present case were sued for (1)
     Defendants Thorson and Gerke argue that they          filling in wetlands (2) without a permit. However,
did not intentionally violate the law because they         in City of Fort Pierre, the relevant policy insured
were not sure whether the Clean Water Act applied          against negligent omissions and thus, the insurance
to the wetlands on the site after the United States        would have provided coverage for the insured's
Supreme Court's holding in Solid Waste, 531 U.S.           negligent failure to obtain a permit. By contrast, de-
159, 121 S.Ct. 675. Defendant Thorson asserts that         fendants are insured against accidental property
contrary to the allegations in the complaint, the          damage. Thus, they are insured only for filling in
Corps did not inform him until after defendant             wetlands unintentionally; the issue whether they
Gerke began the work that the wetlands on his              failed to obtain a permit accidentally or intention-
property were still covered by the Clean Water Act         ally is irrelevant.
and that he would still need a permit. Defendant
Gerke contends that the court should not infer that             In addition, defendant Gerke argues that the
he knew his actions violated the Clean Water Act           complaint does not allege specifically that defend-
because he inserted a contract provision stating that      ants acted with intent. In Jessica M.F. v. Liberty
he would not be held liable for any resulting gov-         Mutual Fire Insurance Co., 209 Wis.2d 42, 54, 561
ernment fines or penalties.                                N.W.2d 787 (Ct.App.), the court held that an inten-
                                                           tional acts exclusion in an insurance policy barred
    These arguments are unavailing for three reas-         coverage in a negligence action because the alleged
ons. First, as stated above, the truth of the allega-      facts revealed intentional conduct. Thus, intent may
tions relates only to the merits of the claim and has      be inferred from the alleged actions of defendants
no bearing on the existence of a duty to defend.           even when a plaintiff does not allege intent ex-
Radke, 217 Wis.2d at 43, 577 N.W.2d at 369.                pressly and will not need to prove it to establish a
Second, it is irrelevant whether defendants Thorson




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defendant's liability.

            C. Applicability of Exclusions
     The applicability of exclusions must be determ-
ined only if the court first determines that there is
initial coverage over the damage alleged in the
complaint. Kalchthaler, 224 Wis.2d at 397, 591
N.W.2d 169. Because I conclude that the damage
alleged in the complaint falls outside the scope of
the property damage covered in the relevant
policies, it is unnecessary to determine the applic-
ability of any of the policies' exclusions.

                     ORDER
    IT IS ORDERED that intervening defendant
Rural Mutual's motion for declaratory judgment
and intervening defendant Acuity's motion for sum-
mary judgment are GRANTED. FURTHER, IT IS
ORDERED that intervening defendant Rural Mutu-
al has no duty to defend or indemnify defendants
Construction Management, Inc., Managed Invest-
ment, Inc. and Peter Thorson and intervening de-
fendant Acuity has no duty to defend or indemnify
Gerke Excavating, Inc.

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                                                           [2] Carriers 70       178

          United States District Court,                    70 Carriers
                S.D. New York.                                70II Carriage of Goods
       SCHOLASTIC INC. et al., Plaintiffs,                       70II(I) Connecting Carriers
                       v.                                             70k178 k. Carrier as Forwarder or Ware-
       M/V KITANO, et al., Defendants, etc.                houseman. Most Cited Cases

   Nos. 02 CIV. 2997(DC), 02 CIV. 6389(DC).                Shipping 354        112
                March 31, 2005.
                                                           354 Shipping
Background: Cargo owners brought action against               354VII Carriage of Goods
vessel owner and shipper of container of impreg-                   354k112 k. Transshipment and Forwarding.
nated activated carbon to recover for fire damage to       Most Cited Cases
cargo. Shipper filed third-party claims against inter-          For purposes of determining legal status of in-
mediary and related entities seeking contribution          termediary, “non-vessel operating common carrier
and indemnification. Bench trial was held.                 (NVOCC)” does not merely arrange for transporta-
                                                           tion of goods, but takes on responsibility of deliver-
Holdings: The District Court, Chin, J., held that:         ing goods by issuing bill of lading.
(1) intermediary was not liable to shipper for con-
tribution or indemnification;                              [3] Carriers 70       178
(2) intermediary did not take on affirmative duty to
identify any hazard associated with impregnated ac-        70 Carriers
tivated carbon; and                                           70II Carriage of Goods
(3) intermediary was entitled to indemnification                 70II(I) Connecting Carriers
from shipper for attorney fees.                                       70k178 k. Carrier as Forwarder or Ware-
                                                           houseman. Most Cited Cases
    Ordered accordingly.
                                                           Shipping 354        112
                   West Headnotes
                                                           354 Shipping
[1] Shipping 354       112                                     354VII Carriage of Goods
                                                                   354k112 k. Transshipment and Forwarding.
354 Shipping                                               Most Cited Cases
   354VII Carriage of Goods                                     Freight forwarder is only liable to shipper for
        354k112 k. Transshipment and Forwarding.           its own negligence, including negligence in choos-
Most Cited Cases                                           ing carrier.
    For purposes of determining legal status of in-
termediary, “freight forwarder” secures cargo              [4] Shipping 354       143
space, gives advice on governmental licensing re-
quirements and proper port of exit and letter of           354 Shipping
credit intricacies, and arranges to have cargo reach          354VII Carriage of Goods
seaboard in time to meet designated vessel. 46                   354k143 k. Persons Liable for Loss or Dam-
C.F.R. § 515.2.                                            age. Most Cited Cases
                                                               Shipper of dangerous goods is strictly liable




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under Carriage of Goods by Sea Act (COGSA) for                  Freight forwarder did not take on affirmative
damages resulting directly or indirectly from such         duty to identify any hazard associated with impreg-
shipment when neither shipper nor carrier had actu-        nated activated carbon, and thus was not respons-
al or constructive preshipment knowledge of                ible in negligence for damages arising from fire
danger. 46 U.S.C.A. § 1304(6).                             caused by shipment of activated carbon, even
                                                           though freight forwarder did not request that ship-
[5] Contribution 96        5(6.1)                          per put in writing that its product was not hazard-
                                                           ous until after fire, where freight forwarder com-
96 Contribution
                                                           plied with its procedures, and industry standard, in
   96k2 Common Interest or Liability
                                                           relying on shipper to tell it whether cargo was non-
      96k5 Joint Wrongdoers
                                                           hazardous, and shipper repeatedly assured freight
         96k5(6) Particular Torts or Wrongdoers
                                                           forwarder that its activated carbon was nonhazard-
               96k5(6.1) k. In General. Most Cited
                                                           ous.
Cases
                                                           [7] Shipping 354       112
Indemnity 208         69
                                                           354 Shipping
208 Indemnity
                                                              354VII Carriage of Goods
    208III Indemnification by Operation of Law
                                                                   354k112 k. Transshipment and Forwarding.
       208k63 Particular Cases and Issues
                                                           Most Cited Cases
             208k69 k. Maritime Cases. Most Cited
                                                                Freight forwarder was not negligent in its role
Cases
                                                           in securing marine container for shipment of im-
     Intermediary that arranged for shipment of im-
                                                           pregnated activated carbon, even if container per-
pregnated activated carbon was not liable to shipper
                                                           mitted excess moisture to come into contact with
for contribution or indemnification for damages
                                                           cargo, causing fire, absent evidence that freight for-
arising from fire caused by shipment, even if inter-
                                                           warder was negligent in its selection of company
mediary qualified as non-vessel operating common
                                                           that provided container.
carrier (NVOCC) under Carriage of Goods by Sea
Act (COGSA), shipment was inflammable, and                 [8] Indemnity 208         33(8)
shipper provided intermediary with product inform-
ation sheet, where shipper was contractually bound         208 Indemnity
under bill of lading to indemnify intermediary for            208II Contractual Indemnity
damages caused by shipper's failure to disclose                  208k33 Particular Cases and Issues
goods' flammable nature, and product information                     208k33(8) k. Maritime Cases. Most Cited
sheet did not disclose that activated carbon presen-       Cases
ted risk of combustion. Carriage of Goods by Sea
Act, § 43(6), 46 App.U.S.C.A. § 1304(6); Shipping          Indemnity 208        36
Act of 1984, § 3(17)(B), 46 App.U.S.C.A. §
                                                           208 Indemnity
1702(17)(B).
                                                              208II Contractual Indemnity
[6] Shipping 354       112                                       208k34 Scope and Extent of Liability
                                                                        208k36 k. Costs and Expenses. Most
354 Shipping                                               Cited Cases
   354VII Carriage of Goods
       354k112 k. Transshipment and Forwarding.            Indemnity 208        37
Most Cited Cases
                                                           208 Indemnity




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  208II Contractual Indemnity                             mediary*451 hired by General Carbon to arrange
      208k34 Scope and Extent of Liability                for the shipment of its two containers of activated
            208k37 k. Attorney Fees. Most Cited           carbon. All claims in the cases were eventually
Cases                                                     settled, except for (i) General Carbon's claims
                                                          against Navtrans for contribution and indemnifica-
Indemnity 208       69                                    tion for the sums paid by General Carbon to settle
                                                          the other claims in the case, and for damages for its
208 Indemnity
                                                          own cargo loss, and (ii) Navtrans's claims against
   208III Indemnification by Operation of Law
                                                          General Carbon for contractual indemnification for
      208k63 Particular Cases and Issues
                                                          attorneys' fees and costs incurred in this litigation.
             208k69 k. Maritime Cases. Most Cited
Cases                                                          General Carbon and Navtrans agreed to a sum-
    Freight forwarder was entitled under bill of          mary trial on stipulated documents, jointly submit-
lading and Carriage of Goods by Sea Act (COGSA)           ted depositions, and stipulated facts. Upon consid-
to indemnification from shipper for attorney fees         eration of the evidence and the arguments of the
and costs incurred in litigation arising from fire        parties, the Court will enter judgment in favor of
causing by shipper's failure to disclose dangerous        Navtrans, dismissing General Carbon's claims
nature of its goods. Carriage of Goods by Sea Act,        against it and awarding Navtrans attorneys' fees and
§ 43(6), 46 App.U.S.C.A. § 1304(6).                       costs. Pursuant to Fed.R.Civ.P. 52, my findings of
                                                          fact and conclusions of law follow.
*450 Picillo, Caruso, O'Toole BySteven A. Weiner,
Esq., Nutley, NJ, for Third-Party Plaintiff.                                     FACTS
                                                          1. The Parties
Barry N. Gutterman & Associates, P.C., By Barry
                                                               General Carbon is a company that distributes
N. Gutterman, Esq., Robert Briere, Esq., New
                                                          activated carbon. Activated carbon is “a highly ab-
York, NY, for Third-Party Defendants.
                                                          sorbent powdered or granular carbon made usually
                                                          by carbonization and chemical activation and used
                                                                                                FN1
                     OPINION                              chiefly for purifying by adsorption.”      Merriam-
CHIN, District Judge.                                     Webster Collegiate Dictionary (10th ed.2000). Uses
     On March 22, 2001, a fire broke out on the M/        of activated carbon include water and air purifica-
V Kitano as it was at sea. The fire was not extin-        tion and odor removal. General Carbon also as-
guished until the next day, and a number of con-          sembles and sells activated carbon filtration equip-
tainers of cargo were damaged.                            ment,     and     processes     activated    carbon,
                                                          “impregnating” it with chemicals to increase the ef-
     These related admiralty cases were filed by          ficiency of the carbon's adsorption. (Muller Dep. at
cargo owners against, inter alia, the vessel owner        11, 14-15, 35).
as well as General Carbon Corporation (“General
Carbon”). General Carbon owned two forty-foot                      FN1. “Adsorption” is “the adhesion in an
containers of activated carbon that were being                     extremely thin layer of molecules (as of
shipped aboard the vessel. The fire apparently star-               gases, solutes, or liquids) to the surfaces of
ted in one of the two containers.                                  solid bodies or liquids with which they are
                                                                   in contact.” Merriam-Webster Collegiate
     General Carbon filed third-party claims against               Dictionary (10th ed.2000). In contrast to
certain third-party defendants, Navtrans Interna-                  absorption, in which molecules are drawn
tional Freight Forwarding, Inc. and related entities               into the internal structure of the absorbent,
(collectively, “Navtrans”). Navtrans was the inter-                adsorption involves the adhesion of mo-




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        lecules to the adsorbent's surface.               is left to dry in open steel drums for approximately
             FN2                                          two weeks. (Murray Dep. at 15-16). No specific
    Navtrans       acts as an intermediary between        measures are taken to ensure the temperature of the
shippers and carriers, arranging for shipments of         warehouse in which the activated carbon dries;
goods in overseas transport. (Amended Third-Party         rather, it is kept at ambient temperature, 60 degrees
Compl. ¶ 20; Amended Third-Party Answer ¶ 20).            during the day and 50 degrees at night. (Muller
                                                          Dep. at 15; Murray Dep. at 20, 114).
        FN2. General Carbon's Amended Third-
        Party Complaint names Navtrans Interna-                    FN3. Activated carbon impregnated with
        tional Freight Forwarding, Inc.; Sirva                     potassium hydroxide is more efficient at
        Freight Forwarding, Inc.; Navtrans Con-                    adsorbing certain acidic contaminants, in-
        tainer Lines, Inc.; Sirva Container Lines,                 cluding hydrogen sulfide and mercaptans.
        Inc.; North American Van Lines, Inc.; and                  (Muller Dep. at 78; Stip. Doc. # 7, product
        Sirva, Inc.; as well as additional defend-                 information sheet).
        ants (e.g., Rose Container Line Inc., World
        Trade Transport, North American Logist-                The aging process, where the activated carbon
        ics). The Amended Third-Party Answer is           is left out to dry for two weeks, is important in pre-
        on behalf of only the six afore-mentioned         venting combustion. (Turk Dep. at 30). The process
        defendants. General Carbon refers only to         gives the impregnated activated carbon the oppor-
        the same six defendants in its trial briefs.      tunity to release heat that is created from the move-
        General Carbon does mention some of the           ment of potassium hydroxide into the activated car-
        other defendants, stating that “Navtrans          bon; the release of heat occurs in an environment
        was a wholly owned subsidiary of Third            where there is not oxygen flowing through the car-
        Party Plaintiff [sic] North American Van          bon that could otherwise cause combustion. (Turk
        Lines, Inc., Customized Logistics Services        Dep. at 30-33). Two weeks is the industry standard
        and/or SIRVA, Inc.” (Pl. Trial Br. 6). No         for drying activated carbon (Turk Dep. at 40); Gen-
        proof of service of the amended third-party       eral Carbon makes no effort at the end of the two
        complaint on any of the defendants has            weeks to ascertain moisture content during the pro-
        been filed. The Court assumes that General        cess, but rather leaves behind any portion that ap-
        Carbon is not pursuing its claims against         pears wet. (Muller Dep. at 40, 44).
        any of the named entities other than the six
        discussed in its briefs.                          3. The Shipment
                                                               Beginning in June 2000, Johnson Pacific re-
2. Activated Carbon Impregnated with Potassium            quested that General Carbon use its “new shipper,”
Hydroxide                                                 Navtrans. (Stip. Doc. # 5, email from Jennifer Tan
     General Carbon produced, upon the request of         at Johnson Pacific to Bob Muller, dated June 28,
its customer, Johnson Pacific Pte. Ltd. (“Johnson         2000). Upon receipt of Johnson Pacific's request to
Pacific”), activated carbon impregnated with po-          use Navtrans, Robert Muller contacted Frank Dam-
tassium hydroxide (“impregnated activated car-            aro at Navtrans and provided him information on
       FN3
bon”).      General Carbon acquired the activated         what was being shipped; Damaro then requested a
carbon *452 and liquid potassium hydroxide from           material safety data sheet, which General Carbon
outside companies. (Murray Dep. at 15). General           provided. (Muller Dep. at 94-5). Navtrans arranged
Carbon impregnated the activated carbon with po-          multiple subsequent shipments of activated carbon
tassium hydroxide through a process involving the         to Johnson Pacific, including the ill-fated shipment
spraying of a solution of potassium hydroxide and         on March 21, 2001 that is the subject of the instant
water onto pelletized activated carbon; the mixture       action.




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     Navtrans's role in arranging for the March 21,        shipment and handling in overseas transport of im-
2001 shipment included overseeing and gathering            pregnated activated carbon (e.g., regarding type of
shipper's documents (e.g., shipper's commercial in-        container), nor was General Carbon aware of any
voice, packing list) (Damaro Dep. at 10, 15, 42);          special precautions that should have been taken.
preparing and issuing two bills of lading (id. at 28;      (Murray Dep. at 116-17). General Carbon did
Stip. Doc. # # 11, 13); and locating and coordinat-        provide a material safety data sheet and a product
                                                 FN4
ing with a carrier, Rose Containerline.                    information sheet instructing end users on dangers
Navtrans contracted for a shipment with Rose Con-          and safe handling of impregnated activated carbon.
tainerline, which then issued a bill of lading listing     (Muller Dep. at 83; Stip. Doc. # 7).
Navtrans International as the shipper. (Stip. Doc. #
28, Rose Containerline Bill of Lading). Rose then          4. Loading the Shipment
booked space with carrier Hapag-Lloyd, in two of                On March 12, 2001, Rose Containerline arrived
its slots aboard the M/V Kitano (Ferrer Dep. at 38),       at General Carbon to pick up and transport a ship-
and arranged for pick-up of the cargo at General           ment of impregnated activated carbon. (Stip. Doc. #
Carbon. (Stip. Doc. # 28, Rose Containerline Book-         11, Bill of Lading). Rose Containerline provided a
ing Confirmation).                                         forty-foot steel container from Hapag-Lloyd, num-
                                                           ber HLCU437489 (“container 89”), into which
         FN4. Although the third-party complaint           General Carbon loaded 360 vinyl bags, each hold-
         lists defendant as “Rose Container Line           ing forty-four kilograms of activated carbon. (Stip.
         Inc.,” documents from Rose indicate the           Doc. # 12, Shipping Order; Stip. Doc. # 13, Bill of
         correct name is Rose Containerline, Inc.          Lading). On March 16, 2001, Rose Container Line
         (Stip. Doc. # 2, Rose Containerline Book-         provided another forty-foot steel Hapag-Lloyd con-
         ing Confirmation).                                tainer, number HLCU4224290 (“container 90”), in-
                                                           to which General Carbon loaded 288 bags, each
     The bills of lading Navtrans issued to General        holding forty-four kilograms of activated carbon,
Carbon listed the cargo as “activated carbon” and          and fourteen steel drums, each holding 115 kilo-
described the shipper's packaging (bags and drums).        grams of impregnated activated carbon. (Stip. Doc.
(Stip.Doc.# # 11, 13). The bills of lading contained       # 9, Shipping Order; Stip. Doc. # 11, Bill of Lad-
various terms and conditions, including an indemni-        ing).
fication provision addressing liability where dan-
gerous or hazardous goods were shipped without                  General Carbon's regular practice was for
full disclosure to the Carrier. (Stip.Doc.# 11, ¶ 17).     either Robert Murray or Alex Maisonet, General
The provision required that where a shipper fails to       Carbon's foreman, to conduct an inspection of the
make such a disclosure, *453 the shipper shall in-         containers before they were loaded. (Murray Dep.
demnify the carrier for its expenses incurred as a         at 106; Muller Dep. at 86). Murray does not recall
result of that omission.                                   if he supervised the loading of the two shipments at
                                                           issue here. (Murray Dep. at 27). He assumed that
     General Carbon repeatedly assured Navtrans            his foreman, Maisonet, inspected every truck or
that the activated carbon was nonhazardous, and            container into which cargo was loaded (Murray
that General Carbon shipped activated carbon all           Dep. at 54), and would have rejected any piece of
the time as nonhazardous cargo. (Damaro Dep. at            equipment if it had any defect. (Id. at 54). Neither
23, 48). General Carbon did not believe that its ac-       Murray nor Muller were aware of any defects in the
tivated carbon was hazardous, nor that it had any          containers. (Id. at 107; Muller Dep. at 90-91).
potential to self-combust. (Murray Dep. at 42, 87).
General Carbon made no specific requests, and                  General Carbon loaded the containers on the
gave Navtrans no special instructions, regarding           loading dock, located outside the warehouse.




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                                                                       FN5
(Murray Dep. at 78). The bags were loaded onto             Navtrans.         (Stip.Doc. # 11).
pallets, with twenty bags per pallet, arranged four
bags per layer, five layers high, with a cardboard                 FN5. The Court notes that impregnated ac-
trim sheet between, for a total of twenty bags per                 tivated carbon, when shipped in packages
pallet. (Id. at 29, 39-40). The mouth of the bags was              not more than three cubic meter volume, is
not secured, but rather folded over. (Id. at 31-32).               not regulated as a hazardous material under
The bags were then shrink-wrapped onto the pallet,                 the International Maritime Dangerous
across the top and around the sides, but not under-                Goods Code or Department of Transporta-
neath the bottom of the bags or the pallet. (Id. at                tion Regulations. (Altemos Dep. at 36-37).
29-30). The pallets, and steel drums, were loaded                  The parties do not dispute that the indi-
into the steel containers, which Rose then transpor-               vidual packages (bags and drums) in which
ted to the vessel.                                                 the activated carbon was shipped were
                                                                   smaller than three cubic meters in volume.
5. The Voyage and The Fire                                         (Altemos Dep. at 37; Muller Dep. at
     On or about March 21, 2001, the two contain-                  58-59). The Court also notes that the activ-
ers were loaded aboard the M/V Kitano. Both con-                   ated carbon here was shipped in forty-four
tainers were declared as general cargo. The Kitano's               kilogram bags, twenty bags per pallet, with
practice was for ship crew to inspect each contain-                360 bags in one container and 288 bags
er. (Iwata Dep. at 271-72). Because the containers                 and fourteen 115 kilogram drums in the
at issue were declared as general cargo, no docu-                  other. (Stip.Doc.# # 9, 12).
mentation of inspection would have been created. (
Id.). Container 90 was stored in a slot above deck,        6. Navtrans's Actions After the Fire
while *454 container 89 was stored below-deck.                 Earlier in the morning of March 23, 2001,
(Stip. Doc. # 34, Fire Investigators' Preliminary Re-      Frank Damaro at Navtrans contacted Robert Mur-
port).                                                     ray at General Carbon, requesting that Murray put
                                                           in writing on General Carbon's letterhead that the
     The vessel departed New York on March 21,             impregnated activated carbon was “nonhazardous.”
                                                           FN6
2001, and encountered stormy weather and rough                  (Murray Dep. at 121-22; Stip. Doc. # 16, fax
seas. (Iwata Dep. at 201, Ex. 26). On March 22,            coversheet and fax stating “nonhazardous”). Per
2001 at approximately 4:00 p.m., a fire was dis-           Damaro's       instructions,     Murray     wrote
covered on board the vessel. (Stip. Doc. # 27, Ship        “non-hazardous” on the commercial invoices for
Log). Fire fighting measures were immediately in-          the two containers, and then faxed them to Sue
stigated. During the fire-fighting, the ship's crew re-    Danders, who apparently worked for Hapag-Lloyd,
ported seeing “little red pellets ... burning” outside     and to Damaro. (Id.). A few hours later, Damaro
container 90. (Iwata Dep. at 270, 272, 285). The           faxed the documents to the legal department of
fires were extinguished by approximately 11:15             North American Van Lines. (Stip. Doc. # 1, fax
p.m. the following day, March 23, 2001. (Iwata             cover sheet).
Dep., Ex. 26). In addition to damage sustained by
container 90, nearby containers sustained fire dam-                FN6. Damaro did not remember when he
age, including cargo belonging to Scholastic, Inc.                 received the document, but testified that he
(books) and Dover Corporation (machine parts).                     requested the non-hazardous declaration
                                                                   before the fire, but did not receive it until
     The fire started in container 90. The impreg-                 after, because General Carbon “was slow
nated activated was cargo of a “flammable, ... un-                 in sending back [his] request.” (Damaro
stable or dangerous nature,” as those terms are used               Dep. at 51). The fax transmission date and
in the bill of lading between General Carbon and                   time information at the top of the docu-




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         ment shows that General Carbon faxed the                   its claims against Rose.
         document on March 23, 2001 at 7:51 a.m. I
         reject Damaro's testimony and find that                General Carbon now seeks from Navtrans in-
         Damaro did not request the document until         demnification and contribution for its settlement
         March 23, 2001, after the fire had started.       payments, and damages for its lost goods. Navtrans
                                                           in turn seeks contractual indemnification for attor-
7. Litigation and Settlement                               neys' fees and costs incurred in this litigation.
     On April 18, 2002, Scholastic, Inc. and Dover
Corporation filed a complaint in this Court for dam-                          DISCUSSION
ages sustained during the fire against multiple entit-          The principal issue presented is whether
ies, including the vessel and various carrier entities.    Navtrans is liable to General Carbon, under a the-
The complaint was amended on September 10,                 ory of indemnification or contribution. The parties
2002 to name General Carbon as a defendant. In             agree that the case is controlled by maritime law
August, 2002, a case filed by another shipper, JT          and the Carriage of Goods by Sea Act (“COGSA”),
International, S.A., was accepted by this Court as         46 U.S.C. § 1300 et seq. General Carbon fails to
related to the Scholastic action. JT International         make clear the precise basis for claiming it is en-
similarly amended its complaint on September 18,           titled to indemnification and contribution. General
2002, adding General Carbon as *455 a defendant.           Carbon does not rely on any contractual basis, but
FN7                                                        rather appears to be arguing a negligence theory,
       On March 4, 2003, General Carbon filed a
third-party complaint in each action, the subject of       based on an expansive reading of Navtrans's obliga-
the instant summary trial. On November 14, 2003,           tions as an intermediary. Any liability turns on
Navtrans filed a counter-claim against General Car-        Navtrans's legal status as either a freight forwarder
bon.                                                       or a non-vessel operating common carrier
                                                           (“NVOCC”), in relation to General Carbon and
         FN7. Various cross-claims were also made          parties with whom General Carbon settled. After
         by some of the defendants.                        setting out the applicable law on the status of inter-
                                                           mediaries and their potential liability, I address the
     Settlement negotiations ensued; as of Novem-          merits of General Carbon's claims.
ber 2003, all claims were settled, except for Gener-
al Carbon's third-party claims against Navtrans and        1. Freight Forwarders v. Non-Vessel Operating
Navtrans's counter-claims against General Carbon.          Common Carriers
FN8
      General Carbon paid a total of $1 million to              Freight forwarders and non-vessel operating
settle the claims against it (Stip. Facts ¶ 1), which      common carriers are types of intermediaries that ar-
was approximately half the total damages claimed           range for shippers the transportation of cargo
against it. (Id. ¶¶ 4, 6, 8, 10, 12).                      aboard a vessel. Although they perform similar
                                                           roles, the legal status of the intermediary determ-
         FN8. The status of General Carbon's third-        ines its liability to the shipper.
         party complaint against Rose Containerline
         is unclear: the parties apparently agreed to           [1][2][3] A freight forwarder “simply facilit-
         an “open extension of time to answer.” (          ates the movement of cargo to the ocean vessel.
         See Letter to the Court from counsel to           The freight forwarder ‘secures cargo space ..., gives
         Rose Containerline, dated November 3,             advice on governmental licensing requirements
         2003). Rose Containerline has not                 [and] proper port of exit and letter of credit intrica-
         answered, nor has General Carbon filed            cies, and arranges to have the cargo reach the sea-
         default judgment papers; the Court as-            board in time to meet the designated vessel.’ ”
         sumes that General Carbon has abandoned           Prima U.S. Inc. v. Panalpina, Inc., 223 F.3d 126,




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129 (2d Cir.2000) (quoting New York Foreign                          “accept[ed] the contention” that two of the
Freight Forwarders & Brokers Ass'n v. Federal                        Navtans entities, Navtrans Container
Maritime Comm'n, 337 F.2d 289, 292 (2d Cir.1964)                     Lines, Inc. and Sirva Container Lines, Inc.,
); see also 46 C.F.R. § 515.2 (listing freight for-                  were NVOCCs, maintaining that the re-
warder duties). An “NVOCC,” in contrast, does not                    mainder were freight forwarders. (See Pl.'s
merely arrange for transportation of goods, but                      Rebuttal/Supplemental Br. at 7).
takes on the responsibility of delivering the goods.
The most fundamental difference between a freight           i. Liability as an NVOCC
forwarder and an NVOCC is that an NVOCC issues                   [4] Both General Carbon and Navtrans recog-
a bill of lading. See Prima, 223 F.3d at 129. It is         nize that in this case General Carbon would be
from the bill *456 of lading-the NVOCC's contract           strictly liable for damages caused by the fire if it
with the shipper-that its liability to the shipper for      were a shipper of dangerous goods. In Senator
its cargo derives. Id. A freight forwarder, in con-         Linie Gmbh & Co., Kg v. Sunway Line, Inc., 291
trast, is only liable to a shipper “for its own negli-      F.3d 145 (2d Cir.2002), the Second Circuit made
gence, including negligence in choosing a carrier.”         clear that § 4(6) of COGSA, 46 U.S.C.App. §
Zima Corp. v. M.V. Roman Pazinski, 493 F.Supp.              1304(6), imposes on a shipper of dangerous goods
268 (S.D.N.Y.1980); see also Prima, 223 F.3d at             strict liability “for damages resulting directly or in-
130 (“when a freight forwarder selects someone to           directly from such shipment when neither the ship-
perform transportation services, that selection ful-        per nor the carrier had actual or constructive pre-
fills the forwarder's obligations in the absence of         shipment knowledge of the danger.” Senator Linie,
proof that the selection itself was negligent”).            291 F.3d at 168. The impregnated activated carbon-
                                                            indisputably the instigator of the fire-clearly was
2. Defendants' Status as Freight Forwarder and/             “goods of an inflammable, explosive, or dangerous
or NVOCC                                                    nature.” 46 U.S.C.App. § 1304(6). General Carbon
     General Carbon argues that certain of the              maintains, and Navtrans does not dispute, that
Navtrans entities acted as freight forwarders, while        neither General Carbon nor the ocean carrier had
others acted as NVOCCs, arguing for liability un-           either actual or constructive knowledge of the risk
der either status. Navtrans argues that all its entities    of fire presented by the impregnated activated car-
functioned as NVOCCs. Neither party submits suf-            bon.
ficient evidence to distinguish among the Navtrans
          FN9                                                   While both parties recognize the relevance of
entities,       and it is not possible to determine
from the record the status of each entity. A determ-        Senator Linie and COGSA § 4(6) to General Car-
ination of each entity's status is unnecessary,             bon's liability, both ignore the implications the case
however, because I find that Navtrans is not liable         has on Navtrans's liability as an NVOCC. Senator
to General Carbon as either an NVOCC or a freight           Linie involved not just a manufacturer/shipper of
forwarder.                                                  dangerous goods, but also an NVOCC (Zen Contin-
                                                            ental Co., Inc.) that arranged for the shipment and
         FN9. General Carbon initially argued that          issued a bill of lading. Senator Linie, 291 F.3d at
         all Navtrans entities, without distinguish-        149. The district court explicitly found, and the
         ing among them or their individual duties,         Second Circuit recognized, that “[u]nder COGSA,
         operated as freight forwarders and                 Zen qualified as a shipper in its capacity as a
         NVOCCs. Navtrans in turn argued that all           NVOCC.” Id. at 150 n. 5 (citing 46 U.S.C.App. §
         Navtrans entities operated as NVOCCs,              1702(17)(B) & 21(E)). All shippers, including the
         also making no distinction among its entit-        NVOCC, were found strictly liable for damages
         ies. General Carbon in its reply then              sustained by the fire in that case.




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     In the same vein, any Navtrans entities that           “Carrier.” The goods at issue clearly were
functioned as NVOCCs are considered shippers in             “flammable, ..., unstable or dangerous.” Therefore,
their relationship to the ocean common carrier.             for this contractual indemnification provision to ap-
COGSA explicitly states *457 as much: 46                    ply, Navtrans must prove that General Carbon
U.S.C.App. § 1702(17)(B) provides that a                    failed to fully disclose in writing the nature and
“non-vessel-operating common carrier ... is a ship-         character of the dangerous goods. Based on the re-
per in its relationship with an ocean common carri-         cord before me, I find that Navtrans has made such
     FN10
er.”        Therefore, Navtrans may be held strictly        a showing.
liable as a shipper of dangerous goods for damages
to the other cargo holders caused by the impreg-                     FN11. This language closely tracks the
nated activated carbon, for the same reasons Gener-                  language of COGSA § 4(6).
al Carbon would be strictly liable to the parties with
                                                                 General Carbon submits that, although it was
whom it settled.
                                                            unaware of the hazardous nature of its impregnated
         FN10. I also note that, as was the case in         activated carbon, it did provide sufficient informa-
         Senator Linie, Navtrans as NVOCC was               tion, in writing, fully disclosing the dangerous
         listed as the shipper in the Rose Container-       nature of its goods. Not only is that argument in-
         line bill of lading. (Stip.Doc.# 28).              ternally inconsistent, but it is not supported by the
                                                            record. General Carbon asserts that the product in-
    [5] Even assuming Navtrans would be liable              formation sheet provided to Navtrans “placed
under Senator Linie to the other cargo owners as            Navtrans on actual notice of the very phenomenon
the “shipper” of dangerous cargo, General Carbon            that did, in fact, according to the testimony of [the
                                                                                                FN12
cannot recover from Navtrans for contribution or            chemical expert], cause the fire.”        (Pl. Tr. Br.
indemnification because General Carbon would be             at 29; see also Pl. Rebuttal/Supp. Br. at 12 (stating
contractually bound to indemnify Navtrans. In other         that the document “speaks to spontaneous heating
words, General Carbon cannot seek reimbursement             and combustion”)). The product information sheet
from Navtrans for payments to other carriers be-            does no such thing.
cause Navtrans would be entitled to reimbursement
from General Carbon for any losses or liabilities it                 FN12. Dr. Amos Turk, General Carbon's
sustained. Paragraph seventeen of the bill of lading                 expert witness on activated carbon and oc-
between General Carbon and Navtrans provides:                        casional chemical consultant for the com-
                                                                     pany (Murray Dep. at 65-66), opined that,
     Goods of a flammable, ... hazardous, unstable                   assuming the impregnated activated carbon
or dangerous nature, shipped without full disclosure                 was aged for two weeks and appropriately
in writing to the Carrier as to their nature and char-               dried, and that no other heat sources or for-
acter, may at any time before discharge be landed at                 eign matter (e.g., gasoline) were applied to
any place.... The Shipper shall indemnify the Carri-                 the container, the combustion in container
er for all losses, damages, liabilities, civil penalties             90 was caused by moisture entering the
and expenses (including attorney's fees) suffered by                 container. The moisture reacted with the
the Carrier, caused in whole or in part by omission                  impregnated activated carbon, eventually
of full disclosure required by this paragraph or by                  heating enough to start a fire. (Turk Dep.
applicable regulations.                                              at 43). Whether the impregnated activated
                                       FN11                          carbon was improperly aged or whether it
    (Stip. Doc. # 11, Bill of Lading).      As                       reacted with moisture is irrelevant, for
between General Carbon and Navtrans, General                         either way the impregnated activated car-
Carbon is the “Shipper” and Navtrans is the                          bon was unstable and dangerous.




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     *458 The product information sheet is a docu-         that neither General Carbon as Shipper nor
ment prepared for end-users and people physically          Navtrans as Carrier had knowledge of the danger-
handling activated carbon impregnated with po-             ous nature of the cargo. Therefore, the contractual
tassium hydroxide. (Stip. Doc. # 7, product inform-        indemnity provision applies: General Carbon must
ation sheet; Murray Dep. at 44; Muller Dep. at             indemnify Navtrans for any “losses, damages, liab-
83-84). It describes the dangers of activated carbon,      ilities, civil penalties and expenses” suffered as a
including the risk that it can remove oxygen from          result of its omission. Because the contract places
the air, and should not be confined without operat-        indemnity liability upon General Carbon in favor of
ive fans. In addition, the second paragraph of the         Navtrans, Navtrans as NVOCC has no duty to in-
product information sheet states the following:            demnify General Carbon for its settlement pay-
                                                           ments.
     Skin irritation and burns can be caused by dir-
ect physical contact with wet GC IPH carbon                ii. Liability as a Freight Forwarder
[activated carbon impregnated with potassium hy-                Often when the status of an intermediary as
droxide]. This can also be caused by the heat of ad-       NVOCC or freight forwarder is disputed, the inter-
sorption. If this occurs, flush the affected area with     mediary argues for freight forwarder status and its
water for at least fifteen minutes. Contact a physi-       limited liability, while the plaintiff argues for
cian if the irritation persists.                           NVOCC status and increased liability arising from
                                                           the bill of lading. See e.g., Prima U.S. Inc. v.
     (Stip. Doc. # 7, product information sheet).          Panalpina, Inc., 223 F.3d 126 (2d Cir.2000); Zima
This statement does not function to fully disclose         Corporation v. M.V. Roman Pazinski, 493 F.Supp.
the dangerous nature of the activated carbon, i.e., it     268 (S.D.N.Y.1980). Perhaps in recognition of the
presented a risk of combustion. The “heat of ad-           losing position it faces if all Navtrans entities are
sorption” merely refers to heat created by the pro-        NVOCCs, General Carbon crafts a unique argu-
cess of molecules adhering to the surface of the ac-       ment, asking the Court to vastly expand the stand-
tivated carbon. Heat is a natural byproduct of this        ard of liability for freight forwarders.
exothermic reaction. In other words, the “heat of
adsorption” is a byproduct of what activated carbon             A freight forwarder's liability to a shipper is
is designed to do-remove contaminants by adsorp-           limited to liability for negligence in supervising the
tion. This product information sheet merely func-          transport of cargo. 1 Thomas J. Shoenbaum, Admir-
tions to warn the user that this process may result in     alty & Mar. Law § 10-7 (4th ed.) (citing Ingersoll
enough heat to burn skin. It is a far cry from             Milling Machine Co. v. M/V Bodena, 619 F.Supp.
“speak[ing] to spontaneous heating and combus-             493 (S.D.N.Y.1985)). A freight forwarder does not
tion.” A shipping intermediary cannot be held to           effect the transportation itself, but rather selects and
have either actual or constructive knowledge of the        hires the *459 companies that perform the tasks of
danger of combustion merely because it was given           transportation; a freight forwarder will only be held
a product information sheet mentioning the “heat of        liable, then, for negligence in selecting those who
adsorption.” This is especially true given that Gen-       perform the transportation services. Prima, 223
eral Carbon-the manufacturer of the activated car-         F.3d at 130.
bon-claims it had no actual or constructive know-
ledge of the danger itself, even though it wrote the            General Carbon, however, makes no argument
very product information sheet it asserts put              that Navtrans was negligent in its selection of com-
Navtrans on notice.                                        panies that performed the transportation services in
                                                           this case. Rather, General Carbon instead argues for
    In sum, I find that General Carbon did not fully       an expansive notion of the duties of Navtrans as a
disclose the dangerous nature of its product, and          freight forwarder, which it then argues were per-




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formed negligently.                                        hazardous until after the fire. (Pl. Tr. Br. at 28).
                                                           First, the record shows that Navtrans's procedure
     [6] First, General Carbon argues that Navtrans        normally was not to ask for such a declaration
“undertook an affirmative obligation to identify any       where a shipper has represented to it that its
hazard associated with the GC IPH AC                       products are nonhazardous. (See Damaro Dep. at
[impregnated activated carbon]” (Pl. Tr. Br. at 26),       20, 26, 30, 46, 56). As General Carbon's president
and that Navtrans was negligent “with respect to           recognized, immediately after the fire everyone was
[its] own procedures” in dealing with hazardous            “in CYA mode” (Muller Dep. at 103), and Damaro
goods. This argument fails: Navtrans took on no            likely requested the declaration after the fire out of
such affirmative duty and was not negligent with           concern for his own liability, not because it was
respect to its procedures in dealing with hazardous        standard Navtrans procedure. (See also Damaro
goods. Navtrans complied with its procedures, and          Dep. at 7). Second, General Carbon makes no effort
industry standard, in relying on the manufacturer/ship-    to argue what relevance Damaro's failure to request
per to tell Navtrans whether its cargo was nonhaz-         the document before the fire bears on the issue of
ardous. General Carbon repeatedly assured                  negligence, i.e., what impact his request before the
Navtrans that its activated carbon was nonhazard-          fire that General Carbon put in writing its belief as
ous. The mere fact that Damaro stated that he was          to nonhazardousness would have had on the chain
concerned about the word “activated”-which                 of events.
“raised red flags” and about which he wanted more
              FN13
information         -does not create “an affirmative            Second, General Carbon argues that “Navtrans
obligation to identify any hazard” associated with         failed to process product information provided by
the cargo, a duty that does not otherwise belong to        General Carbon.” (Pl. Tr. Br. at 28). General Car-
a freight forwarder.                                       bon's argument on this point is far from complete,
                                                           focusing entirely on how its provision of the
         FN13. Damaro testified that the word              product information sheet put Navtrans on notice of
         “activated” “set off a red flag,” that caused     the danger of fire, while failing to explain in what
         him to ask General Carbon for assurance                                                          FN14
                                                           way Navtrans should have “processed” it.
         that the activated carbon was nonhazard-          This argument*460 is rejected, for, as discussed
         ous. Damaro's concern, at most, reflects his      above, I find that Navtrans was not given sufficient
         lack of familiarity with General Carbon's         information to put it on notice of the danger of fire
         product. “Activated” merely refers to the         presented by the activated carbon.
         process by which carbon is processed, usu-
         ally through extremely hot steam, to create                FN14. For example, General Carbon does
         openings in the structure of the carbon to                 not seem to argue that Navtrans should
         allow space for adhesion of other mo-                      have declared the cargo hazardous. In
         lecules. (Turk Depo. at 28-29). Damaro's                   making a separate argument elsewhere in
         concern does not mean that he took it upon                 its brief, General Carbon does contend that
         himself to investigate and identify “any                   “given Navtrans'[s] actual notice regarding
         hazard associated” with the product, haz-                  the exothermic reaction of the GC IPH AC
         ards of which General Carbon itself were                   [impregnated activated carbon] when al-
         not aware.                                                 lowed to become wet, it should have either
                                                                    (1) caused a condition survey to be per-
     General Carbon apparently also argues that                     formed on the containers to ensure water-
Navtrans was negligent “with respect to [its] own                   tightness ... or (2) specified that both con-
procedures” because Damaro did not request Gen-                     tainers be stowed below-deck.” (Pl. Tr. Br.
eral Carbon put in writing that its product was not




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         at 32). I need not, and do not, reach this ar-              al Carbon's claim for damages to its own
         gument.                                                     cargo.

     [7] Third, General Carbon argues that Navtrans                  FN16. The Court has considered General
was negligent in “its role in securing a marine con-                 Carbon's other arguments and they are re-
tainer that permitted excess moisture to come into                   jected.
contact with the cargo, causing the fire.” (Pl. Re-
buttal/Supplemental Tr. Br. at 5). Navtrans's “role”        3. Navtrans's Indemnification Claims
and attendant liability as a freight forwarder in                [8] Navtrans counter-claims for indemnifica-
providing the marine container was limited to com-          tion by General Carbon of its attorneys' fees and
petently selecting the company that provided the            expenses for depositions and expert witnesses.
container. Prima, 223 F.3d at 130. General Carbon           (Amended Counter-Claim ¶ 11). Navtrans argues it
expends much effort, in its brief and expert testi-         is entitled to indemnification under either the con-
mony, arguing that the fire occurred because water          tractual indemnity provision of the bill of lading,
entered the container, reacting with the impregnated        discussed above, or COGSA § 4(6). The bill of lad-
activated carbon and eventually generating enough           ing provides for indemnity of all “expenses
heat to cause a fire in the container. (Pl. Tr. Br.         (including attorney's fees) suffered by the Carrier,
16-18; Turk Dep. passim ). Nevertheless, General            caused in whole or in part by omission of full dis-
Carbon has not shown, nor makes any effort to               closure” of the dangerous nature of the cargo.
show, that Navtrans was negligent as a freight for-         COGSA § 4(6) requires indemnification by a ship-
warder in its selection of Rose Containerline, which        per of dangerous goods, without disclosure, of “all
provided the container to General Carbon for load-          damages and expenses directly or indirectly arising
ing and transported the loaded container to the ves-        out of or resulting from such shipment.” 46
sel. Even if the container were faulty and moisture         U.S.C.App. § 1304(6). Under either the *461 bill of
ingress did cause the fire, an issue I do not reach,        lading or COGSA, Navtrans is entitled to indemni-
Navtrans is not liable as a freight forwarder for its       fication for attorneys' fees and costs incurred in this
choice of Rose Containerline to provide the physic-         litigation over the fire resulting from General Car-
al container.                                               bon's failure to disclose the dangerous nature of its
                                                            goods.
     In sum, Navtrans is not liable to General Car-
bon for the latter's settlement payments to those                              CONCLUSION
                               FN15                              For the foregoing reasons, judgment will be
parties damaged by the fire.         This result is con-
sistent with the Second Circuit's conclusion in Sen-        entered in favor of Navtrans, dismissing General
ator Linie that “a shipper can be expected to have          Carbon's claims for indemnification, contribution,
greater access to and familiarity with goods.... If an      and damages and awarding Navtrans its attorneys'
unwitting party must suffer, it should be the one           fees and expenses incurred in this litigation.
that is in a better position to ascertain ahead of time     Navtrans shall submit a proposed judgment on no-
the dangerous nature of the shipped goods.” Senat-          tice within five business days hereof, with a sup-
or Linie, 291 F.3d at 169. Here, General Carbon             porting affidavit, detailing the requested fees and
surely was in a better position than Navtrans to as-        expenses. Any objections are to be submitted with-
certain ahead of time the dangerous nature of its ac-       in three business days thereafter.
                 FN16
tivated carbon.
                                                                SO ORDERED.
         FN15. For the same reasons that I find that
         Navtrans is not liable to General Carbon           S.D.N.Y.,2005.
         for its settlement payments, I reject Gener-




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